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     Molinari vs Financial Asset Management Systems, Inc.

                              1:18-cv-01526




                   Deposition of: Richard Molinari

                       Taken on: May 10, 2019
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      Molinari vs Financial Asset Management Systems, Inc.
      Richard Molinari - 05/10/2019                                                              Page 1
                                                                                                 Page 1
·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · · · NORTHERN DISTRICT OF ILLINOIS
·2· · · · · · · · · · · EASTERN DIVISION

·3
· ·   ·   RICHARD MOLINARI, Plaintiff,· · ·)
·4·   ·   on behalf of himself and a· · · ·)
· ·   ·   class of similarly situated· · · )
·5·   ·   individuals,· · · · · · · · · · ·)
· ·   ·   · · · · · · · · · · · · · · · · ·)
·6·   ·   · · · · · · · · Plaintiffs,· · · )
· ·   ·   · · · · · · · · · · · · · · · · ·)
·7·   ·   · · · ·vs.· · · · · · · · · · · ·)· No. 1:18-cv-01526
· ·   ·   · · · · · · · · · · · · · · · · ·)
·8·   ·   FINANCIAL ASSET MANAGEMENT· · · ·)
· ·   ·   SYSTEMS, INC.,· · · · · · · · · ·)
·9·   ·   · · · · · · · · · · · · · · · · ·)
· ·   ·   · · · · · · · · Defendant.· · · ·)
10

11

12· · · · · · ·The deposition of RICHARD MOLINARI, called by

13· ·the Defendant for examination, taken pursuant to notice

14· ·and pursuant to the Federal Rules of Civil Procedure for

15· ·the United States District Courts pertaining to the

16· ·taking of depositions, taken before Christina J. Atto,

17· ·Certified Shorthand Reporter and Notary Public, at

18· ·2500 South Highland Avenue, Suite 200, Lombard,

19· ·Illinois, commencing at 10:00 a.m. on the 10th day of

20· ·May, A.D., 2019.

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                                                           Page 2                                                             Page 4
·1·   ·APPEARANCES:                                                 ·1·   · · · · · · · · · · · · · ·(Witness sworn.)
·2·   · · · SULAIMAN LAW GROUP, LTD.
· ·   · · · MR. JAMES C. VLAHAKIS                                   ·2·   ·WHEREUPON:
·3·   · · · 2500 South Highland Avenue                              ·3·   · · · · · · · · · · ·RICHARD MOLINARI,
· ·   · · · Suite 200
·4·   · · · Lombard, Illinois 60148
                                                                    ·4·   ·called as a witness herein, having been first duly
· ·   · · · Phone: (630) 413-9054                                   ·5·   ·sworn, was examined and testified as follows:
·5·   · · · E-mail:· jvlahakis@sulaimanlaw.com
                                                                    ·6·   · · · · · · · · · · DIRECT EXAMINATION
·6·   · · · · · ·On behalf of the Plaintiffs;
·7·   · · · MESSER STRICKLER, LTD.                                  ·7·   ·BY MS. STRICKLER:
· ·   · · · MS. STEPHANIE A. STRICKLER                              ·8·   · · · Q.· ·Can you please state your name and spell it
·8·   · · · 225 West Washington Street
· ·   · · · Suite 575                                               ·9·   ·for the record, please?
·9·   · · · Chicago, Illinois 60606                                 10·   · · · A.· ·Richard Molinari.· R I C H A R D,
· ·   · · · Phone: (312) 334-3469
                                                                    11·   ·M O L I N A R I.
10·   · · · E-mail:· sstrickler@messerstrickler.com
11·   · · · · · ·On behalf of the Defendant;                        12·   · · · Q.· ·Have you ever had your deposition taken
12·   · · · BEDARD LAW GROUP, P.C.                                  13·   ·before?
· ·   · · · MR. JONATHAN AUST (via telephone)
13·   · · · 4855 River Green Parkway                                14·   · · · A.· ·Nope.
· ·   · · · Suite 310                                               15·   · · · Q.· ·Okay.· I'm just going to start out with a few
14·   · · · Duluth, Georgia 30096
· ·   · · · Phone: (678) 253-1871 Ext. 203
                                                                    16·   ·ground rules so you know what to expect.
15                                                                  17·   · · · A.· ·Okay.
· ·   · · · · · ·On behalf of the Defendant.                        18·   · · · Q.· ·Today we have a court reporter here so it's
16
17                                                                  19·   ·really important for you to give verbal responses.
18                                                                  20·   ·She's taking down everything you say so she can't take
19
20
                                                                    21·   ·down shakes of the head, nods --
21                                                                  22·   · · · A.· ·Right.
22
                                                                    23·   · · · Q.· ·-- whatever.· Make sense?
23
24                                                                  24·   · · · A.· ·Uh-huh.
                                                           Page 3                                                             Page 5
·1· · · · · · · · · · · · · ·I N D E X                              ·1·   · · · Q.· ·Okay.· Also, because she is taking down
·2· ·WITNESS· · · · · · · · · · · · · · · · · · · · PAGE
                                                                    ·2·   ·everything we say, let's try to not talk over each
·3· ·RICHARD MOLINARI
                                                                    ·3·   ·other.
·4· · · · Direct Examination by Ms. Strickler ...... 4
· · · · · Cross-Examination by Mr. Vlahakis ........ 86
                                                                    ·4·   · · · A.· ·Uh-huh.
·5· · · · Redirect Examination by Ms. Strickler .... 96             ·5·   · · · Q.· ·Sometimes you might know where I'm going with
· · · · · Recross-Examination by Mr. Vlahakis ...... 102            ·6·   ·something, so just let me finish my question and then
·6· · · · Redirect Examination by Ms. Strickler .... 105            ·7·   ·I'll let you finish your answer, the same.· Also, I'm
·7                                                                  ·8·   ·not here to confuse you with any questions.· If I ask
· · · · · · · · · · · · · E X H I B I T S                           ·9·   ·you a question and you don't understand, please feel
·8
                                                                    10·   ·free to let me know and I'll rephrase.· However, if you
·9· · · · · · · · · · ·(NO EXHIBITS MARKED)
                                                                    11·   ·do answer, I will expect that you understand it.
10
11
                                                                    12·   · · · · · ·If at any time you need to take a break at
12                                                                  13·   ·all, just let me know.· The only thing that I would ask
13                                                                  14·   ·is if there is a question pending that you would answer
14                                                                  15·   ·it before we take a break.
15                                                                  16·   · · · A.· ·(Nodding.)
16                                                                  17·   · · · Q.· ·And do you understand that your testimony is
17
                                                                    18·   ·under oath and that it is just the same as if it were
18
                                                                    19·   ·being -- if you were testifying before a judge or a
19
20
                                                                    20·   ·jury?
21                                                                  21·   · · · A.· ·I do.
22                                                                  22·   · · · Q.· ·Okay.· And are you currently taking any
23                                                                  23·   ·medications that may affect your testimony today?
24                                                                  24·   · · · A.· ·Nope.



                                                                                                                                       YVer1f
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                                                          Page 6                                                               Page 8
·1·   · · · Q.· ·Okay.· And is there any reason why you can't      ·1·   · · · Q.·   ·Campbell.· And how long have you been married?
·2·   ·give fair and accurate testimony today?                     ·2·   · · · A.·   ·Roughly around ten years.
·3·   · · · A.· ·No.                                               ·3·   · · · Q.·   ·Okay.
·4·   · · · Q.· ·Okay.· All right.· So I represent the             ·4·   · · · A.·   ·About that.
·5·   ·defendant in this case.· For the record, Financial Asset    ·5·   · · · Q.·   ·What is your current address?
·6·   ·Management Systems, Inc.· I'm going to refer to them as     ·6·   · · · A.·   ·6 Drake Lane in Beecher, Illinois 60401.
·7·   ·FAMS.· Is that okay?                                        ·7·   · · · Q.·   ·That's Beecher?
·8·   · · · A.· ·That's fine.                                      ·8·   · · · A.·   ·Uh-huh.· Beecher.
·9·   · · · Q.· ·Okay.· And do you understand that you are here    ·9·   · · · Q.·   ·Is it B ...
10·   ·today for me to take your deposition?                       10·   · · · A.·   ·It's -- I believe it's spelled B E E C H E R.
11·   · · · A.· ·Yes.                                              11·   ·Yeah.
12·   · · · Q.· ·Okay.· Did you do anything to prepare for your    12·   · · · Q.·   ·Got it.
13·   ·deposition today?                                           13·   · · · MR.   VLAHAKIS:· Where is Beecher near?
14·   · · · A.· ·Just briefing with my lawyer.                     14·   · · · THE   WITNESS:· Beecher is near Crete, Illinois.
15·   · · · Q.· ·Okay.                                             15·   · · · MR.   VLAHAKIS:· Okay.
16·   · · · A.· ·That's all.                                       16·   · · · THE   WITNESS:· It's actually right on the border of
17·   · · · Q.· ·And when did you speak with your lawyer?          17·   ·Illinois   and Indiana.
18·   · · · A.· ·About ten, fifteen minutes ago.· That's about     18·   · · · MR.   VLAHAKIS:· Okay.
19·   ·it.                                                         19·   · · · MS.   STRICKLER:· Oh.
20·   · · · Q.· ·Okay.· Today?                                     20·   · · · THE   WITNESS:· You go maybe ten miles you're out of
21·   · · · A.· ·Yeah.· Nothing other than that.                   21·   ·state.
22·   · · · Q.· ·Okay.· And it was -- Was it just Mr. Vlahakis     22·   · · · MR.   VLAHAKIS:· Okay.
23·   ·that's here today?                                          23·   · · · THE   WITNESS:· Yeah.· So ...
24·   · · · A.· ·Yes.                                              24·   · · · MR.   VLAHAKIS:· I always wanted to ask him that.· So
                                                          Page 7                                                               Page 9
·1·   · · · Q.· ·Okay.· Did you review any documents?              ·1·   ·thank you.
·2·   · · · A.· ·No documents reviewed.                            ·2·   · · · THE WITNESS:· Yeah.
·3·   · · · Q.· ·Okay.· Can I have your date of birth, please?     ·3·   · · · MS. STRICKLER:· I don't know a lot of the suburbs
·4·   · · · A.· ·6-20-75.                                          ·4·   ·around here so good to know.
·5·   · · · Q.· ·And have you ever gone by any other name          ·5·   · · · MR. VLAHAKIS:· Oh, city slicker?
·6·   ·besides Richard Molinari?                                   ·6·   ·BY MS. STRICKLER:
·7·   · · · A.· ·No.                                               ·7·   · · · Q.· ·So how long have you lived at that address?
·8·   · · · Q.· ·And am I pronouncing it correctly?· Molinari?     ·8·   · · · A.· ·At Beecher, about four and a half years.
·9·   · · · A.· ·Yeah.                                             ·9·   · · · Q.· ·Okay.· And what -- Do you recall what your
10·   · · · Q.· ·Okay.                                             10·   ·address was just prior to this one?
11·   · · · A.· ·Molinari, yeah.                                   11·   · · · A.· ·Right before Beecher it was in Schererville.
12·   · · · Q.· ·Molinari?                                         12·   · · · Q.· ·In Indiana?
13·   · · · A.· ·Uh-huh.                                           13·   · · · A.· ·Indiana.
14·   · · · Q.· ·Are you currently married?                        14·   · · · Q.· ·See.· I am from Indiana so I know the towns
15·   · · · A.· ·Yes.                                              15·   ·there.
16·   · · · Q.· ·Okay.· And what is your spouse's name?            16·   · · · A.· ·Yeah.
17·   · · · A.· ·Nicolette Molinari.                               17·   · · · Q.· ·Do you recall what your address was?
18·   · · · Q.· ·And has your spouse gone by any other name        18·   · · · A.· ·It's 2120 Meadow Lane.
19·   ·besides Nicolette Molinari?                                 19·   · · · Q.· ·And how long did you reside there?
20·   · · · A.· ·No.· I mean, obviously before she was married.    20·   · · · A.· ·About four years.
21·   · · · Q.· ·Okay.                                             21·   · · · Q.· ·While you were living at these two addresses,
22·   · · · A.· ·But yeah.· No.                                    22·   ·did you use any other address for any other purpose?
23·   · · · Q.· ·What's her maiden name?                           23·   · · · A.· ·No.
24·   · · · A.· ·Campbell.                                         24·   · · · Q.· ·Okay.



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                                                         Page 10                                                            Page 12
·1·   · · · A.· ·Nope.                                             ·1·   · · · Q.· ·That's a long time.
·2·   · · · Q.· ·Do you reside with anyone?                        ·2·   · · · A.· ·Oh, yes.
·3·   · · · A.· ·I live with my wife and my mother.                ·3·   · · · Q.· ·And what do you do there?
·4·   · · · Q.· ·Okay.· And did you speak with anybody about       ·4·   · · · A.· ·Lead receiver.
·5·   ·this lawsuit or have you spoken with anybody about this     ·5·   · · · Q.· ·Lead receiver?
·6·   ·lawsuit?                                                    ·6·   · · · A.· ·Uh-huh.
·7·   · · · A.· ·No.                                               ·7·   · · · Q.· ·And what is a lead receiver?
·8·   · · · Q.· ·Okay.                                             ·8·   · · · A.· ·Pretty much any product that comes in to the
·9·   · · · A.· ·No.· Other than my attorney.· That's it.          ·9·   ·store, we're responsible for receiving it.
10·   · · · Q.· ·Okay.                                             10·   · · · Q.· ·Okay.
11·   · · · A.· ·Yeah.                                             11·   · · · A.· ·Overseeing that, doing the payments, paying
12·   · · · Q.· ·No friends, family?                               12·   ·for the PO's.· Stuff like that.
13·   · · · A.· ·No.· It's none of their business.                 13·   · · · Q.· ·Have you held that position the entire time
14·   · · · Q.· ·What is your current phone number?                14·   ·you've worked there?
15·   · · · A.· ·It's (708) 228-8132.                              15·   · · · A.· ·Oh, no.· I've held several different
16·   · · · Q.· ·8132.· How long have you had that number?         16·   ·positions.· I stayed with the company, but, you know,
17·   · · · A.· ·Oh, my God.· I think at least five years,         17·   ·I -- different -- different departments.· I recently got
18·   ·minimum.                                                    18·   ·into receiving maybe five years ago, but ...· Yeah.
19·   · · · Q.· ·Do you use any other phone number besides the     19·   · · · Q.· ·Okay.· What did you do just prior to being a
20·   ·8132 number?                                                20·   ·lead receiver?
21·   · · · A.· ·Nope.                                             21·   · · · A.· ·Oh, my God.· I did the warehouse, I did
22·   · · · Q.· ·Do you have any children?                         22·   ·grocery, I did whole body.· Pretty much almost every
23·   · · · A.· ·No.                                               23·   ·department in the store.
24·   · · · Q.· ·What is your highest level of education?          24·   · · · Q.· ·Okay.
                                                         Page 11                                                            Page 13
·1·   · · · A.· ·College graduate.                                 ·1·   · · · MR. VLAHAKIS:· I didn't know Whole Foods had been
·2·   · · · Q.· ·Okay.                                             ·2·   ·around for that long.
·3·   · · · A.· ·Bachelor's degree.                                ·3·   · · · THE WITNESS:· Oh, yeah.· They've been around for --
·4·   · · · Q.· ·Bachelor's?                                       ·4·   ·yeah, around 30 years.
·5·   · · · A.· ·Columbia College.                                 ·5·   ·BY MS. STRICKLER:
·6·   · · · Q.· ·And is that in Chicago?                           ·6·   · · · Q.· ·Have you ever been a party to a lawsuit?
·7·   · · · A.· ·Yeah.· Yep.                                       ·7·   · · · A.· ·Have I ever been what?
·8·   · · · Q.· ·What was your degree in?                          ·8·   · · · Q.· ·A party?· Do you --
·9·   · · · A.· ·Liberal Arts.                                     ·9·   · · · A.· ·Oh, involved?
10·   · · · Q.· ·And do you recall when you earned that degree,    10·   · · · Q.· ·Uh-huh.· Yes.
11·   ·approximately?                                              11·   · · · A.· ·Yeah, I've been involved in one.· Yes.
12·   · · · A.· ·It was roughly 1999, I believe.· Yeah, June of    12·   · · · Q.· ·Okay.· And can you tell me what that was?
13·   ·1999.                                                       13·   · · · A.· ·Do you want just like basic details, or ...
14·   · · · Q.· ·Do you hold any other licenses or                 14·   · · · Q.· ·I guess, how many lawsuits have you been a
15·   ·certificates?                                               15·   ·party to?
16·   · · · A.· ·Nope.                                             16·   · · · A.· ·One.
17·   · · · Q.· ·And are you currently employed?                   17·   · · · Q.· ·One, okay.
18·   · · · A.· ·Yes.                                              18·   · · · A.· ·Yes.
19·   · · · Q.· ·Where?                                            19·   · · · Q.· ·And do you recall what the name of that was,
20·   · · · A.· ·Whole Foods Market.                               20·   ·the name of the case?
21·   · · · Q.· ·And where?· Which Whole Foods?                    21·   · · · A.· ·I don't even recall the name.
22·   · · · A.· ·Oh.· Orland Park.                                 22·   · · · Q.· ·Do you recall if you were the plaintiff or
23·   · · · Q.· ·And how long have you been there?                 23·   ·defendant?
24·   · · · A.· ·18 years.                                         24·   · · · A.· ·Oh.· I was -- Yeah, I was the plaintiff.



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                                                         Page 14                                                            Page 16
·1·   ·Yeah.                                                       ·1·   ·was?
·2·   · · · Q.· ·Okay.· Do you remember who you sued?              ·2·   · · · A.· ·"Outcome" meaning what?
·3·   · · · A.· ·I'm trying to think of the name.· I think it      ·3·   · · · Q.· ·I guess, is it -- I mean, is it still pending?
·4·   ·was Comenity.· Yeah.                                        ·4·   · · · A.· ·No, it's not.
·5·   · · · Q.· ·Do you recall about how long ago that was?        ·5·   · · · Q.· ·Okay.· Did you go to trial?
·6·   · · · A.· ·Maybe a year or so ago.                           ·6·   · · · A.· ·No.
·7·   · · · Q.· ·And was this -- was the case here?                ·7·   · · · Q.· ·Was there a settlement in the case?
·8·   · · · A.· ·Here?                                             ·8·   · · · A.· ·Yep.
·9·   · · · Q.· ·In Chicago or Illinois?                           ·9·   · · · Q.· ·Okay.· And have you ever been convicted of a
10·   · · · A.· ·Yes.· Yeah, Illinois.· Yeah.                      10·   ·crime?
11·   · · · Q.· ·Okay.· And what was the -- What were your         11·   · · · A.· ·Nope.· Never been arrested in my life.
12·   ·claims in that case?                                        12·   · · · Q.· ·Sorry.· I have to ask that.
13·   · · · A.· ·What were my claims?                              13·   · · · A.· ·No.· That's -- That was interesting.· I've
14·   · · · Q.· ·What was the case about?                          14·   ·actually never been arrested.
15·   · · · A.· ·It was harassment.                                15·   · · · Q.· ·Good.
16·   · · · Q.· ·Okay.· What kind of harassment?                   16·   · · · A.· ·Ever.
17·   · · · A.· ·It was more emotional or harassment.              17·   · · · MR. VLAHAKIS:· You look nervous.
18·   · · · Q.· ·Could you kind of explain the -- I guess, the     18·   · · · MS. STRICKLER:· I look nervous?· Nope.
19·   ·underlying facts?· What was -- What did Comenity do to      19·   · · · MR. VLAHAKIS:· Would your answer be different?
20·   ·harass?                                                     20·   · · · MS. STRICKLER:· No.
21·   · · · A.· ·Well, they were pretty much harassing me by       21·   ·BY MS. STRICKLER:
22·   ·phone.                                                      22·   · · · Q.· ·Okay.· Let's move on to this case.· So your
23·   · · · Q.· ·Okay.· Was this also another -- I guess, a        23·   ·number ending in 8132, that's the number that's at issue
24·   ·debt collector case?                                        24·   ·in the lawsuit, correct?
                                                         Page 15                                                            Page 17
·1·   · · · THE WITNESS:· Is that considered a debt collector?     ·1·   · · · A.· ·Uh-huh.
·2·   · · · MR. VLAHAKIS:· You can't ask me any questions.         ·2·   · · · Q.· ·Okay.· Did --
·3·   · · · THE WITNESS:· Oh, my God.                              ·3·   · · · MR. VLAHAKIS:· Oh, just going forward, uh-huh, she
·4·   ·BY MS. STRICKLER:                                           ·4·   ·can kind of take that down, but use yes or no's for the
·5·   · · · Q.· ·To the best of your memory or understanding.      ·5·   ·court reporter.
·6·   · · · A.· ·Yeah.· Yeah.                                      ·6·   · · · THE WITNESS:· Okay.
·7·   · · · Q.· ·Was it similar to the case that we're here for    ·7·   · · · MS. STRICKLER:· Thank you.
·8·   ·today?                                                      ·8·   · · · MR. VLAHAKIS:· Welcome, or uh-huh.
·9·   · · · MR. VLAHAKIS:· Object to the form of the question.     ·9·   ·BY MS. STRICKLER:
10·   · · · · · ·Go ahead and answer.                              10·   · · · Q.· ·So FAMS is the defendant in this case.· Did
11·   ·BY THE WITNESS:                                             11·   ·FAMS contact you at that number?
12·   · · · A.· ·Yes and no.                                       12·   · · · A.· ·At the 228-8132?
13·   · · · Q.· ·Okay.· Can you explain why it is similar?         13·   · · · Q.· ·8132?
14·   · · · A.· ·Well, I believe phone calls to me is              14·   · · · A.· ·They've -- Yeah, they were calling there.
15·   ·harassment.                                                 15·   · · · Q.· ·Okay.
16·   · · · Q.· ·Okay.· And why is it dissimilar?                  16·   · · · A.· ·Uh-huh.
17·   · · · A.· ·So I --                                           17·   · · · Q.· ·Did they call you at any other numbers?
18·   · · · Q.· ·Or go ahead.· Sorry.                              18·   · · · A.· ·Well, they attempted to believe to call me or
19·   · · · A.· ·It's dissimilar because it's a different          19·   ·my wife at my mother's phone number --
20·   ·company.· I mean ...                                        20·   · · · Q.· ·Okay.
21·   · · · Q.· ·Is there anything else?                           21·   · · · A.· ·-- which that caused a lot of conflict,
22·   · · · A.· ·(Shaking head.)                                   22·   ·but ...
23·   · · · Q.· ·No?                                               23·   · · · Q.· ·What was that -- Do you know the phone number?
24·   · · · · · ·Do you recall what the outcome of that case       24·   · · · A.· ·It was (708) -- oh, my God -- 946-0284.



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·1·   ·That's her phone number.                                    ·1·   · · · Q.· ·That's all right.· I'm going to go back to
·2·   · · · Q.· ·Your mother's?                                    ·2·   ·your phone number, 8132.· That's a cell phone number,
·3·   · · · A.· ·Yes.                                              ·3·   ·correct?
·4·   · · · Q.· ·Okay.                                             ·4·   · · · A.· ·Yes.
·5·   · · · A.· ·So I have no connection whatsoever to that        ·5·   · · · Q.· ·Okay.· And are you the only user of that
·6·   ·phone number.· They probably -- That would just probably    ·6·   ·number?
·7·   ·be the address, perhaps, and she did talk to them           ·7·   · · · A.· ·Of this number, yes.
·8·   ·several times, so ...· But it's kind of hard for her to     ·8·   · · · Q.· ·Okay.· What kind of phone do you have?
·9·   ·answer the phone because she's handicapped.· She's in a     ·9·   · · · A.· ·Sprint.
10·   ·wheelchair.· That's why she lives with me.· I have to       10·   · · · Q.· ·Sprint?
11·   ·take care of her when I'm not at work, so ...               11·   · · · A.· ·I have --
12·   · · · Q.· ·Okay.· That number that you provided, is that     12·   · · · Q.· ·Is it -- Is that ...
13·   ·her cell phone number?                                      13·   · · · A.· ·Samsung.· It's I think the 3, older model.
14·   · · · A.· ·No.· That's a home phone.· That's a landline.     14·   · · · Q.· ·Is that an Android?
15·   · · · Q.· ·Okay.· Okay.                                      15·   · · · A.· ·Galaxy 3.
16·   · · · A.· ·Yeah.· That was the land -- her landline.         16·   · · · Q.· ·Oh, a Galaxy?
17·   ·She's had that landline in River Grove.· She had gotten     17·   · · · A.· ·Yeah.
18·   ·sick so I had to move her in with me and my wife to         18·   · · · Q.· ·Okay.· Have you always had that type of phone
19·   ·Beecher, so she never changed her phone number.· She        19·   ·associated with the number 8132?
20·   ·just changed the address.                                   20·   · · · A.· ·No, not always.· I had before that -- I still
21·   · · · Q.· ·Okay.                                             21·   ·had a Samsung.· It was just a different brand.· To be
22·   · · · A.· ·So ...                                            22·   ·honest with you, I can't even remember the -- what other
23·   · · · Q.· ·Do you recall when she was receiving these        23·   ·brand it was.· That was a couple years ago, but that one
24·   ·phone calls?                                                24·   ·broke.· Same number, same plan, everything.· It's just a
                                                         Page 19                                                            Page 21
·1·   · · · A.· ·It -- I know it was at least between six and      ·1·   ·different version.· That's all.
·2·   ·eight months ago, I believe.· That's when they started.     ·2·   · · · Q.· ·Okay.· And you've --
·3·   · · · Q.· ·Okay.· Do you recall -- I mean, have they         ·3·   · · · A.· ·But --
·4·   ·stopped?                                                    ·4·   · · · Q.· ·-- had that phone for about two years you'd
·5·   · · · A.· ·They stopped so far, but for a while it was on    ·5·   ·say?
·6·   ·and off.                                                    ·6·   · · · A.· ·Two or three, yeah.
·7·   · · · Q.· ·Okay.· Do you recall when the calls stopped?      ·7·   · · · Q.· ·Two or three, okay.
·8·   · · · A.· ·Maybe a month or two ago.· Roughly around         ·8·   · · · · · ·And so you said that it's the same plan.· What
·9·   ·then.                                                       ·9·   ·kind of plan do you have?
10·   · · · Q.· ·Did you say that they were looking for you or     10·   · · · A.· ·It's pretty much unlimited.
11·   ·your wife?                                                  11·   · · · Q.· ·Is it under any sort of family plan?
12·   · · · A.· ·Oh, no.· They were on the phone with my mother    12·   · · · A.· ·No.· It's just like my wife's number is the
13·   ·asking for Nicki.                                           13·   ·secondary, but it's my account.
14·   · · · Q.· ·Okay.                                             14·   · · · Q.· ·Okay.· And do you pay for your cellular bill?
15·   · · · A.· ·And she's told them several times this is not     15·   · · · A.· ·Yes.· I pay for everything.
16·   ·her phone number.· So I don't know what that's about. I     16·   · · · Q.· ·What do you mean by everything?· Your wife's
17·   ·was not physically there, but that caused a lot of          17·   ·too, and ...
18·   ·conflict.· And, again, I don't know how they got that       18·   · · · A.· ·Yeah.
19·   ·number, but my confusion in that part is the fact that      19·   · · · Q.· ·Okay.
20·   ·she specifically said this is not Nicki's phone number.     20·   · · · A.· ·Everything in general.
21·   ·And she's in a wheelchair and it's even hard for her to     21·   · · · Q.· ·So you said you have an unlimited plan.· What
22·   ·answer the phone.· So I understand one time, but she        22·   ·exactly does that mean?
23·   ·spoke to people so I -- I -- Anyway, that's ...· I don't    23·   · · · A.· ·Pretty much unlimited calling, texting, data.
24·   ·want to go off on anything separate.                        24·   · · · Q.· ·So since it's unlimited, do you receive any



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·1·   ·sort of charges for incoming calls?                         ·1·   · · · Q.· ·Okay.
·2·   · · · A.· ·No, not for incoming calls.· No.                  ·2·   · · · A.· ·I mean ...· Yeah.
·3·   · · · Q.· ·What about outgoing calls?                        ·3·   · · · Q.· ·And when did you become aware that the calls
·4·   · · · A.· ·Not unless it's out of the -- what do you call    ·4·   ·were in an attempt to reach your wife?
·5·   ·it? -- the -- Oh, what do they call that?· The roaming.     ·5·   · · · A.· ·To reach my wife?· Well, obviously, that
·6·   · · · Q.· ·Uh-huh.                                           ·6·   ·was -- I believe they said it on a voicemail.· I think
·7·   · · · A.· ·I had to look on my phone.· If it's roaming.      ·7·   ·they said it on a voicemail.
·8·   · · · Q.· ·Okay.· Do you receive -- Or I'm sorry.· Do        ·8·   · · · Q.· ·What was said on the voicemail?
·9·   ·you -- Are you charged for any text messages?               ·9·   · · · A.· ·They're trying to contact Nicki.
10·   · · · A.· ·Not unless -- There's certain rates.· Like, if    10·   · · · Q.· ·Okay.
11·   ·it's a business, you'll get a pop-up saying this may --     11·   · · · A.· ·Nicolette.· So if someone is trying to contact
12·   ·this may -- additional rate may be applied.                 12·   ·her, I'm going to tell her.· That's her responsibility
13·   · · · Q.· ·Okay.                                             13·   ·to call back that person.· That's not my debt.· They're
14·   · · · A.· ·I know a few times I've seen it on the phone      14·   ·not trying to reach me so why would I call someone back
15·   ·where I've got charged for an additional rate, but          15·   ·if they're asking for someone else?· I mean, if they
16·   ·that's probably with the company.                           16·   ·were asking for me, that's a different story.· If they
17·   · · · Q.· ·Okay.                                             17·   ·knew it was me and they specifically wanted to talk to
18·   · · · A.· ·I don't know exactly how that works, but, yes,    18·   ·me, that's fine.· But if you're asking to speak to my
19·   ·I was calling Sprint about my fabulous bill being           19·   ·wife, call her on her number, not my number.· That's ...
20·   ·charged $25 late text one time, so ...                      20·   · · · Q.· ·Do you recall -- I guess you said that you --
21·   · · · Q.· ·Okay.· That's an expensive text?                  21·   ·that this was in a voicemail.· Do you recall when you
22·   · · · A.· ·Yeah.· That was amusing.                          22·   ·received this voicemail?
23·   · · · Q.· ·Are you charged for any of the voicemails that    23·   · · · A.· ·I could possibly -- I could look it up on my
24·   ·you receive?                                                24·   ·phone if you wanted the exact date.
                                                         Page 23                                                            Page 25
·1·   · · · A.· ·I'm not charged.· It's in actual plan.            ·1·   · · · Q.· ·It's okay.· If you -- If you have a rough
·2·   · · · Q.· ·In plan, okay.                                    ·2·   ·estimate.· Was this in 2017?
·3·   · · · · · ·And when did you start receiving calls from       ·3·   · · · A.· ·Yeah, 2017.· I mean, like I said, I could look
·4·   ·FAMS?                                                       ·4·   ·it up on my -- I've saved all the voicemails on my
·5·   · · · A.· ·That I can recall?                                ·5·   ·phone, but to give an exact date, I would have to look
·6·   · · · Q.· ·That you can recall?                              ·6·   ·at that date.
·7·   · · · A.· ·I think it went all the way back to at least      ·7·   · · · Q.· ·All right.· And do you have a personalized
·8·   ·2015, but I mean, it really -- it was kind of on and        ·8·   ·greeting on your voicemail?· Do you understand what I
·9·   ·off, but 2017 was really when -- a lot of phone calls.      ·9·   ·mean by personalized greeting?
10·   · · · Q.· ·Okay.· And who is the person that FAMS was        10·   · · · A.· ·It says Richard.
11·   ·attempting to reach?· Was it you?                           11·   · · · Q.· ·Okay.
12·   · · · A.· ·I have no idea because I have no debt, so ...     12·   · · · A.· ·Yeah.
13·   ·I didn't even know what FAMS was about.· I know I -- I      13·   · · · Q.· ·And have you always had that set-up?
14·   ·spoke one time -- I spoke one time with my wife and she     14·   · · · A.· ·Yes.· It's always been my name.· Yeah. I
15·   ·said that was something that she thought was paid off.      15·   ·hope.
16·   ·So I'm like, well, if it's paid off, I mean, why am I       16·   · · · Q.· ·A slightly different question, but ...
17·   ·contacting someone that's paid off, but at the same         17·   · · · · · ·Does your -- So does your wife ever use your
18·   ·time, it's also bothering, but ...                          18·   ·cell phone?
19·   · · · Q.· ·Okay.· So I guess to your understanding, they     19·   · · · A.· ·Nope.
20·   ·were contacting you in relation to an account that was      20·   · · · Q.· ·And, to your knowledge, has she ever used that
21·   ·supposedly belonging to your wife?                          21·   ·number?
22·   · · · A.· ·Supposedly?                                       22·   · · · A.· ·My phone number?
23·   · · · Q.· ·(Nodding.)                                        23·   · · · Q.· ·(Nodding.)
24·   · · · A.· ·Yeah.                                             24·   · · · A.· ·No.



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·1·   · · · Q.· ·To your knowledge, has she ever provided that     ·1·   · · · THE WITNESS:· It was beginning of 2017, I believe.
·2·   ·number as her own?                                          ·2·   · · · MR. VLAHAKIS:· Okay.
·3·   · · · A.· ·No.                                               ·3·   · · · THE WITNESS:· Because I literally -- This voicemail
·4·   · · · Q.· ·So when you -- You said you received              ·4·   ·app is newer, so ...· But as of now, I can show you
·5·   ·voicemails from FAMS.· Did your phone ring when you         ·5·   ·this, but ...
·6·   ·received a voicemail?                                       ·6·   ·BY MS. STRICKLER:
·7·   · · · A.· ·When the -- Yeah, the phone rings once.           ·7·   · · · Q.· ·Okay.· And so when were you able to start
·8·   · · · Q.· ·Okay.· So the phone rang and then the             ·8·   ·using it that way?
·9·   ·voicemail came?                                             ·9·   · · · A.· ·I think around beginning of maybe February.
10·   · · · A.· ·Uh-huh.                                           10·   · · · Q.· ·Of this year?
11·   · · · Q.· ·Okay.                                             11·   · · · A.· ·2017.
12·   · · · A.· ·And then plus I get a pop-up.                     12·   · · · Q.· ·2017?
13·   · · · Q.· ·What is the pop-up?                               13·   · · · A.· ·Yes.
14·   · · · A.· ·I could show you as an example.· Let me see if    14·   · · · Q.· ·Okay.· But before --
15·   ·it's still there.· You see how it says e-mail               15·   · · · A.· ·But before then, you would have to call in.
16·   ·(gesturing)?· It will be the same thing like if I have      16·   · · · Q.· ·Call in, okay.
17·   ·voicemail.                                                  17·   · · · A.· ·But this, you'd actually have -- you can
18·   · · · Q.· ·Okay.                                             18·   ·actually press on this and then you have to listen to
19·   · · · A.· ·It pops up and then it dings.                     19·   ·it.
20·   · · · Q.· ·A notification?                                   20·   · · · Q.· ·Okay.
21·   · · · A.· ·Yeah, notification.                               21·   · · · A.· ·But before then, it's pretty much calling in.
22·   · · · Q.· ·Okay.                                             22·   ·So you'd call your own number and ask for your password
23·   · · · A.· ·Until you clear that voicemail, you're going      23·   ·and then you would be able to access your voicemail that
24·   ·to get that notification.                                   24·   ·way.
                                                         Page 27                                                            Page 29
·1·   · · · Q.· ·Okay.· Does it just say voicemail, or ...         ·1·   · · · Q.· ·Okay.· When you received missed calls, is it a
·2·   · · · A.· ·It says voicemail and then you have to check      ·2·   ·similar notification that you receive?
·3·   ·your voicemail.                                             ·3·   · · · A.· ·Uh-huh.
·4·   · · · Q.· ·Okay.                                             ·4·   · · · Q.· ·Okay.
·5·   · · · A.· ·Then you actually have to go to your voicemail    ·5·   · · · A.· ·Missed calls will come up and then a dingle.
·6·   ·thing, either listen to it or call it in.                   ·6·   ·There will be a ding.
·7·   · · · Q.· ·Okay.· How do you -- I guess, can you walk me     ·7·   · · · Q.· ·If there's a voicemail or even if there's --
·8·   ·through how you retrieve your voicemails?                   ·8·   · · · A.· ·If there's a voice [sic] or even if it's a
·9·   · · · A.· ·I could show you, but I'm not going to play       ·9·   ·missed call.
10·   ·something because that's --                                 10·   · · · Q.· ·Just a missed call?
11·   · · · Q.· ·No.· That's okay.· I guess --                     11·   · · · A.· ·Yes.
12·   · · · A.· ·So you're going to have your notifications.       12·   · · · Q.· ·Are they separate notifications?
13·   ·Okay.· Now, keep in mind also with the other phone, I       13·   · · · A.· ·It's the same, like, chirping sound because --
14·   ·had to physically call in.· This is newer.                  14·   ·unless I change that in my phone.
15·   · · · Q.· ·Okay.                                             15·   · · · Q.· ·I guess, what's displayed on your phone?· Is
16·   · · · A.· ·But --                                            16·   ·it --
17·   · · · Q.· ·The phone you had maybe before two, three         17·   · · · A.· ·Yeah.
18·   ·years ago?                                                  18·   · · · Q.· ·-- separate?· It will say, you know, missed
19·   · · · A.· ·Even this is an updated version of voicemail.     19·   ·call and then there's another one that says --
20·   ·My other voicemail, I physically had to call my number.     20·   · · · A.· ·Yeah.
21·   · · · Q.· ·Okay.                                             21·   · · · Q.· ·-- voicemail?
22·   · · · MR. VLAHAKIS:· Uh-huh.· When -- The time you're        22·   · · · A.· ·Yes, they're separate.
23·   ·talking about physically having to call, when was that?     23·   · · · Q.· ·Okay.
24·   ·Why don't you nail that down.                               24·   · · · A.· ·Yeah.· So, for example, if someone just called



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·1·   ·me, it's a missed call, it will show up as a missed         ·1·   · · · A.· ·Yeah, up to a certain date.· Yes.
·2·   ·call, but if I had a voicemail, like two calls before       ·2·   · · · Q.· ·Okay.· So did you ever save the records from
·3·   ·then, it will show voicemail.· So you could have actual     ·3·   ·the missed calls of FAMS?
·4·   ·two separate notifications pop up if it's one right         ·4·   · · · A.· ·Did I ever save them?· I mean, I didn't
·5·   ·after the other, but yeah --                                ·5·   ·like -- I didn't erase them.
·6·   · · · Q.· ·I see.· Okay.                                     ·6·   · · · Q.· ·Okay.· I guess so we -- In this case, we have
·7·   · · · A.· ·-- it's different.                                ·7·   ·from you produced, I guess, screen shots of the
·8·   · · · Q.· ·Were you receiving missed call notifications      ·8·   ·voicemails.
·9·   ·from FAMS?                                                  ·9·   · · · A.· ·Right.
10·   · · · A.· ·Yes --                                            10·   · · · Q.· ·I'm wondering if you have screen shots of the
11·   · · · Q.· ·Okay.· And do you --                              11·   ·missed calls.
12·   · · · A.· ·-- anytime they call me.                          12·   · · · A.· ·Of the missed calls?· I don't think I have
13·   · · · Q.· ·Do you still have those records?                  13·   ·screen shots.· I -- It's still on my phone, though.
14·   · · · A.· ·Of missed calls?                                  14·   · · · Q.· ·It would still be on your phone?
15·   · · · Q.· ·(Nodding.)                                        15·   · · · A.· ·(Nodding.)
16·   · · · A.· ·I mean, it's a notification that pops up.· It     16·   · · · Q.· ·Okay.
17·   ·will say missed call and then when you click on it, that    17·   · · · A.· ·Up to a certain date.
18·   ·goes away.· So it will show missed call on here, then on    18·   · · · Q.· ·Okay.
19·   ·the phone symbol, it will show who called.· And then ...    19·   · · · A.· ·I -- I -- Missed calls?· Oh, let me see how
20·   ·Wait.· So the phone symbol, you see how, like, if you       20·   ·far back it goes.
21·   ·have a text, there's a notification?· It's the same         21·   · · · MS. STRICKLER:· I guess I would just ask, if there
22·   ·notification with the number.                               22·   ·are missed calls from the number of FAMS, if --
23·   · · · Q.· ·Okay.                                             23·   · · · MR. VLAHAKIS:· We'll check that --
24·   · · · A.· ·And then you'll have to click on that and then    24·   · · · MS. STRICKLER:· Okay.
                                                         Page 31                                                            Page 33
·1·   ·you'll have to go and it will show the missed call.         ·1·   · · · MR. VLAHAKIS:· -- but I think initially when we
·2·   · · · Q.· ·Okay.                                             ·2·   ·responded to discovery, we explained that Omar had --
·3·   · · · A.· ·So that will stay in here, but the original       ·3·   ·for the complaint about that list, he got that off of
·4·   ·notification, that's how it goes through.                   ·4·   ·his phone.
·5·   · · · Q.· ·That goes away?                                   ·5·   · · · MS. STRICKLER:· Uh-huh.
·6·   · · · A.· ·So it goes through missed call on your regular    ·6·   · · · MR. VLAHAKIS:· I'll double-check to see -- I mean,
·7·   ·when your phone is locked and then it's the symbol and      ·7·   ·if you want to look right now to see how far back the
·8·   ·then you click on that.                                     ·8·   ·missed calls go, I think they do override at a certain
·9·   · · · Q.· ·Okay.                                             ·9·   ·period of time.
10·   · · · A.· ·So if someone -- If I had to check a missed       10·   · · · MS. STRICKLER:· Right.
11·   ·call, that's pretty much the steps that I would have to     11·   · · · MR. VLAHAKIS:· But, yes, if there are anything that
12·   ·go through, is first you got to unlock your phone           12·   ·we can produce, we'll do, but I think this might make
13·   ·because I have to keep it locked because I'm nine           13·   ·sense to see if he still has the FAMS one on his phone
14·   ·times -- Well, mostly at work I keep it locked so it's      14·   ·because I know he showed -- he still has the voice drops
15·   ·more of a habit to just save some and keep it locked.       15·   ·on his phone, the three of them that he has, but then
16·   ·Do the pin and then go through the steps of missed          16·   ·there's obviously the other seven that we don't have.
17·   ·calls.· So you click on missed call, then you would go      17·   · · · MS. STRICKLER:· Okay.
18·   ·through your notification there, click on the               18·   · · · MR. AUST:· And this is Jonathan.· If you don't mind
19·   ·notification, and then the next screen you would            19·   ·if I -- I'm looking at the dates of the messages that we
20·   ·actually see where the missed call came from.               20·   ·have that were November 16th, 2017, November 24th, 2017,
21·   · · · Q.· ·Okay.· Is there a way for you to see a list of    21·   ·and December 4th of 2017.· If he doesn't mind looking
22·   ·the missed calls that you have received?                    22·   ·for -- Even after the deposition, if he can look for the
23·   · · · A.· ·From which time?                                  23·   ·screen shots or if the phone still has the records from
24·   · · · Q.· ·Just anytime on your phone.                       24·   ·those dates.



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·1·   · · · MR. VLAHAKIS:· Well, we produced those to you          ·1·   ·separate.
·2·   ·already.                                                    ·2·   · · · Q.· ·Okay.
·3·   · · · MR. AUST:· Where are they because I'm looking for      ·3·   · · · A.· ·Missed calls, you go to missed calls.
·4·   ·it right now.                                               ·4·   ·Voicemail, you have to go to your voicemail.
·5·   · · · MR. VLAHAKIS:· They -- I imbedded those into an        ·5·   · · · Q.· ·There's different --
·6·   ·e-mail to you.· And I have them -- I should still also      ·6·   · · · A.· ·Yes.
·7·   ·have them on my laptop from where he sent them to me as     ·7·   · · · Q.· ·-- like steps you have to take to get to both?
·8·   ·well.· And let me double-check.· It shouldn't take me       ·8·   · · · A.· ·Right.· Right.
·9·   ·too long for me to go through ... Because I think I         ·9·   · · · Q.· ·Okay.· Did you ever receive any text messages
10·   ·called it like screen shots as the -- whatever the image    10·   ·from FAMS?
11·   ·that I saved and sent to you.· And I know I imbedded it     11·   · · · A.· ·I don't believe so.· No, I don't think I got
12·   ·into an e-mail with you guys.                               12·   ·any texts.
13·   · · · MR. AUST:· As I'm looking for it, I remember seeing    13·   · · · Q.· ·How many voicemails did you receive from FAMS?
14·   ·something in a -- maybe a letter --                         14·   · · · A.· ·Voicemails?· To my knowledge, ten.
15·   · · · MR. VLAHAKIS:· Should we just go off the record for    15·   · · · Q.· ·For, I guess, any one of those voicemails,
16·   ·right now while we're doing -- looking for that?            16·   ·would you see your phone ring and then you wouldn't
17·   · · · MS. STRICKLER:· Sure.                                  17·   ·answer and it -- you would get a voicemail?
18·   · · · · · · · · · · ·(Discussion off the record.)            18·   · · · A.· ·Right.
19·   ·BY MS. STRICKLER:                                           19·   · · · Q.· ·That's the process?
20·   · · · Q.· ·Okay.· So I was previously asking you about, I    20·   · · · A.· ·(Nodding.)
21·   ·guess, the list of missed calls that you have.· Do you      21·   · · · Q.· ·Was there ever a time where there was no
22·   ·know how long your phone retains missed calls?              22·   ·notification of a missed call, but there was a
23·   · · · A.· ·On that screen, two months.· On the website of    23·   ·notification of just voicemail from FAMS?
24·   ·Sprint, I can go back two or three years at least.          24·   · · · A.· ·No, not that I --
                                                         Page 35                                                            Page 37
·1·   · · · Q.· ·On the website?                                   ·1·   · · · Q.· ·So was it always --
·2·   · · · A.· ·Yes.                                              ·2·   · · · A.· ·-- ever recall because it's going to tell you
·3·   · · · Q.· ·Okay.· You were talking about how you retrieve    ·3·   ·both.
·4·   ·your voicemails.· You went through the steps.· Is the       ·4·   · · · Q.· ·Okay.
·5·   ·screen showing the voicemails the same screen as the        ·5·   · · · A.· ·It's going to tell you that there's a missed
·6·   ·missed calls?                                               ·6·   ·call and it's going to tell you that there's a
·7·   · · · A.· ·What do you mean by the same?· That this -- It    ·7·   ·voicemail.
·8·   ·appears the same, you're saying?                            ·8·   · · · Q.· ·So from your recollection, it was always both
·9·   · · · Q.· ·Are they the same?· Are they on the same          ·9·   ·a missed call and a voicemail notification?
10·   ·screen?                                                     10·   · · · A.· ·Uh-huh.
11·   · · · A.· ·Yes.                                              11·   · · · Q.· ·Did you ever speak to a FAMS representative?
12·   · · · Q.· ·Okay.                                             12·   · · · A.· ·I spoke to one, yes.
13·   · · · A.· ·Yes.                                              13·   · · · Q.· ·Okay.· So just one time then?· Or how many
14·   · · · Q.· ·So you --                                         14·   ·times?
15·   · · · A.· ·So, for example, if I had both, they'd both be    15·   · · · A.· ·That I can recall is one time.· I tried
16·   ·here.                                                       16·   ·calling one or two times and it was literally like a
17·   · · · Q.· ·I guess when you actually get into the list of    17·   ·pre-recorded message and then you click on that to speak
18·   ·the voicemails --                                           18·   ·to a live person, so ...· I thought I was speaking to a
19·   · · · A.· ·Uh-huh.                                           19·   ·live person right away.· I was at work and I really
20·   · · · Q.· ·-- though, is that also the same -- does it       20·   ·didn't need to do that, but I checked it anyway.
21·   ·have the missed calls and the voicemails on the same --     21·   · · · Q.· ·This time that you talked to the
22·   · · · A.· ·They're separate.                                 22·   ·representative, did you initiate the call?
23·   · · · Q.· ·They're separate?· Okay.                          23·   · · · A.· ·Yes, I did, but this is them calling me.
24·   · · · A.· ·You have to -- In order to -- Completely          24·   · · · Q.· ·I guess I was just asking --



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·1·   · · · A.· ·Yeah.· Yeah.                                      ·1·   · · · Q.· ·When you were receiving calls, do you recall
·2·   · · · Q.· ·-- for that one time, though.                     ·2·   ·how often the calls were made?
·3·   · · · A.· ·Yeah.· No.· I'm just -- So you understand it,     ·3·   · · · A.· ·How often?· I can recall at least -- I -- Just
·4·   ·it's them calling me and picking up, not me calling them    ·4·   ·by the number of phone calls, I mean, at least once
·5·   ·back.· That's what I'm saying.· Like, I didn't just call    ·5·   ·every couple days.
·6·   ·them back from a voicemail or something.· They actually     ·6·   · · · Q.· ·How long did that go on?
·7·   ·called me and it was on caller ID and I picked up.          ·7·   · · · A.· ·At least several months, minimum.
·8·   ·That's when I told them not to call me.                     ·8·   · · · Q.· ·Would that be five months?· What's several to
·9·   · · · Q.· ·So they called you?                               ·9·   ·you?
10·   · · · A.· ·Correct.                                          10·   · · · A.· ·Up to nine.
11·   · · · Q.· ·You didn't call them?                             11·   · · · Q.· ·Up to nine?
12·   · · · A.· ·Right.                                            12·   · · · A.· ·Because I don't remember the phone calls in
13·   · · · Q.· ·Okay.                                             13·   ·2015, but they did.
14·   · · · A.· ·They called --                                    14·   · · · Q.· ·And you said that the calls have stopped,
15·   · · · Q.· ·That's different?                                 15·   ·correct?
16·   · · · A.· ·Right.· They called me.                           16·   · · · A.· ·So far, yes.· I think they called my mother's
17·   · · · Q.· ·You picked up?                                    17·   ·phone number again a couple weeks ago, but I wasn't
18·   · · · A.· ·I picked up --                                    18·   ·there.· I know she brought up the name again.
19·   · · · Q.· ·And said --                                       19·   · · · Q.· ·Has there been a time in the last five years
20·   · · · A.· ·-- and I said not to call me.                     20·   ·that you received calls similar to the ones you were
21·   · · · Q.· ·Okay.· Was that the -- You said that was the      21·   ·receiving from FAMS from a different company?
22·   ·only time you spoke to them.· Was that the only time you    22·   · · · A.· ·Within five years?
23·   ·told them to stop contacting you?                           23·   · · · Q.· ·Yeah.· Just in the past five years?
24·   · · · A.· ·Yes.                                              24·   · · · A.· ·Yeah.
                                                         Page 39                                                            Page 41
·1·   · · · Q.· ·Do you recall about when that was?                ·1·   · · · Q.· ·Okay.
·2·   · · · A.· ·I'm not sure of the exact date.· I mean ...       ·2·   · · · A.· ·Within five years, yeah.
·3·   · · · Q.· ·Was it springtime?· Was it fall?· Was it in       ·3·   · · · Q.· ·Do you recall who you received those calls
·4·   ·2017?                                                       ·4·   ·from?
·5·   · · · A.· ·Late 2017.                                        ·5·   · · · A.· ·What do you mean?· The company?
·6·   · · · Q.· ·Perhaps, wintertime?                              ·6·   · · · Q.· ·Uh-huh.· Yes.
·7·   · · · A.· ·Perhaps.· I mean, I would love to give you an     ·7·   · · · A.· ·Well, that was -- that was -- Comenity was
·8·   ·accurate date, but I can't remember the exact date.         ·8·   ·one.· Yeah, I think there was one other company that I
·9·   · · · Q.· ·Okay.· Did they stop contacting you after         ·9·   ·don't even remember the name of the company.
10·   ·that?                                                       10·   · · · Q.· ·And when were you receiving the calls from
11·   · · · A.· ·At this number, yes.                              11·   ·Comenity?
12·   · · · Q.· ·But they were contacting you at a different       12·   · · · A.· ·2017.
13·   ·number?                                                     13·   · · · Q.· ·And the other company, do you recall when you
14·   · · · A.· ·At my mother's after I told them to stop          14·   ·were receiving those calls?
15·   ·calling or they were contacting Nicki, but they were        15·   · · · A.· ·2015.
16·   ·contacting.                                                 16·   · · · Q.· ·And were any of these calls in relation to a
17·   · · · Q.· ·Okay.· But they stopped calling your number of    17·   ·debt that you owed?
18·   ·8132?                                                       18·   · · · A.· ·Nope.· I don't owe debt.· I mean, me, yeah, I
19·   · · · A.· ·Well, let me put it to you this way.· After me    19·   ·don't owe debt.
20·   ·telling them don't call this number, call her number if     20·   · · · Q.· ·Were you receiving any voicemails from those
21·   ·you want to contact her, they called my mother and asked    21·   ·calls?
22·   ·for her, so ...                                             22·   · · · A.· ·Yeah.
23·   · · · Q.· ·Okay.                                             23·   · · · Q.· ·What did you do when you received those
24·   · · · A.· ·Yeah.· That's how that worked.                    24·   ·voicemails?



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·1·   · · · A.· ·With the other company?                           ·1·   · · · Q.· ·Okay.· Any other physical symptoms that you
·2·   · · · Q.· ·Correct.                                          ·2·   ·experienced?
·3·   · · · A.· ·I contacted them after several calls and          ·3·   · · · A.· ·I mean, most of it was headaches, almost
·4·   ·voicemails and told them not to call me.                    ·4·   ·having a seizure, and I had -- on and off I would have
·5·   · · · Q.· ·And did they stop?                                ·5·   ·chest pains.· Like, a few times I had to get it checked
·6·   · · · A.· ·Not really.                                       ·6·   ·out.
·7·   · · · Q.· ·Okay.· And then what did you do when they         ·7·   · · · Q.· ·When did you do that?
·8·   ·didn't stop?                                                ·8·   · · · A.· ·When did I get it checked out?
·9·   · · · A.· ·Get an attorney.                                  ·9·   · · · Q.· ·Uh-huh.
10·   · · · Q.· ·Okay.· And did you keep records of those          10·   · · · A.· ·This is in early 2017.
11·   ·calls?                                                      11·   · · · Q.· ·And was there any sort of result that
12·   · · · A.· ·Yes.                                              12·   ·you received from them?
13·   · · · Q.· ·And did you keep records of the voicemails?       13·   · · · A.· ·They said it was stress.
14·   · · · A.· ·Yes.                                              14·   · · · Q.· ·Stress?
15·   · · · Q.· ·And do you believe that you suffered any          15·   · · · A.· ·I said what can I do to prevent this?· And I
16·   ·damages as a result of those calls?                         16·   ·mean, when a guy -- when a doctor says it's stress, man,
17·   · · · A.· ·Yes.                                              17·   ·like just try to relax.· You could tell people that all
18·   · · · Q.· ·Okay.· And can you tell me -- can you explain     18·   ·you want, but yeah, you know, I mean, it wasn't -- they
19·   ·the damages that you suffered?                              19·   ·didn't prescribe anything for it.· I mean, doctors have
20·   · · · A.· ·With these debt collection calls?                 20·   ·opinions, but, you know, stress is stress.
21·   · · · Q.· ·For the calls, yeah.· The other companies.        21·   · · · Q.· ·Okay.· Moving on.· Besides your attorneys, is
22·   · · · A.· ·Over time, I'm pretty much getting a divorce      22·   ·there anybody that you can think of that has knowledge
23·   ·and I have an issue with my mother now that I'm taking      23·   ·regarding this case?
24·   ·care of and she's sick.· So over time, the whole debt       24·   · · · A.· ·No.
                                                         Page 43                                                            Page 45
·1·   ·thing causes issues in your marriage and that's brutally    ·1·   · · · Q.· ·And how is it that you came to engage your
·2·   ·honest, so ...· Not to mention, I mean, obviously           ·2·   ·attorneys?
·3·   ·stress, but when it's affected your marriage and your       ·3·   · · · A.· ·That I -- Oh, how did I bring it up to them or
·4·   ·relationship with your mother that you're taking care       ·4·   ·how did I ...
·5·   ·of, that's definitely emotional and that can lead to,       ·5·   · · · Q.· ·How did you meet them or how did you become
·6·   ·you know, just physical stress, just ...· And affecting     ·6·   ·aware of them?
·7·   ·my work performance because you know you do think about     ·7·   · · · A.· ·Actually, I -- I actually got introduced to
·8·   ·that stuff and that's just fabulous to go through all       ·8·   ·them by a -- I think it was my wife, but that was like
·9·   ·that stuff when you're at work, so ...                      ·9·   ·before this obviously.
10·   · · · Q.· ·So you suffered physical stress.· Were you        10·   · · · Q.· ·Okay.
11·   ·experiencing symptoms?                                      11·   · · · A.· ·This is -- I already -- I already knew this
12·   · · · A.· ·Headaches.                                        12·   ·group, so ...
13·   · · · Q.· ·Headaches?                                        13·   · · · Q.· ·So you think you were referred to them by your
14·   · · · A.· ·I almost had a seizure.· I'm epileptic.           14·   ·wife?
15·   · · · Q.· ·You are epileptic?                                15·   · · · A.· ·Yeah.
16·   · · · A.· ·Yes.                                              16·   · · · Q.· ·Okay.· And your wife, does she not have any
17·   · · · Q.· ·Okay.                                             17·   ·knowledge about this case?
18·   · · · A.· ·My blood pressure was up a few times and I'm      18·   · · · A.· ·(Shaking head.)
19·   ·otherwise healthier.                                        19·   · · · MR. VLAHAKIS:· Object to the form of the question.
20·   · · · Q.· ·So you haven't had issues with blood pressure     20·   ·BY MS. STRICKLER:
21·   ·in the past?                                                21·   · · · Q.· ·She has no knowledge about any of the claims
22·   · · · A.· ·No.                                               22·   ·in this case?
23·   · · · Q.· ·Are you on medication for your epilepsy?          23·   · · · A.· ·(Shaking head.)
24·   · · · A.· ·Yes.                                              24·   · · · MR. VLAHAKIS:· You have to answer yes or no.



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                                                         Page 46                                                            Page 48
·1·   ·BY THE WITNESS:                                             ·1·   · · · Q.· ·Okay.· Do you know if you have to pay any
·2·   · · · A.· ·No.                                               ·2·   ·costs associated with this lawsuit?
·3·   · · · Q.· ·Thank you.                                        ·3·   · · · A.· ·It -- That depends on -- I mean, eventually,
·4·   · · · A.· ·Capital N.                                        ·4·   ·yes.
·5·   · · · Q.· ·So you said that you had known your group of      ·5·   · · · Q.· ·What -- And you said it depends?
·6·   ·attorneys before.· So had you retained them prior to        ·6·   · · · A.· ·Yeah.
·7·   ·this lawsuit?                                               ·7·   · · · Q.· ·What does it depend on?
·8·   · · · A.· ·Prior to the FAMS lawsuit?                        ·8·   · · · A.· ·It depends on what happens with the case. I
·9·   · · · Q.· ·Correct.                                          ·9·   ·mean ...
10·   · · · A.· ·Yes.                                              10·   · · · Q.· ·So if, I guess, the outcome comes in your
11·   · · · Q.· ·Okay.· Do you recall when you first met your      11·   ·favor, it could be one thing.· Is that what you mean?
12·   ·lawyers?                                                    12·   · · · A.· ·Yes.· I'll put it to you this way.· It could
13·   · · · A.· ·I believe it was very, very end of 2016, maybe    13·   ·be different fees.
14·   ·early 2017.                                                 14·   · · · Q.· ·Okay.
15·   · · · Q.· ·When you were referred to these attorneys, did    15·   · · · A.· ·Yep.
16·   ·you do any research of your own before you met them?        16·   · · · Q.· ·If you were to prevail or win in this case, do
17·   · · · A.· ·Not really because it was, you know, just         17·   ·you know whether your attorneys would get a portion of
18·   ·wanted to see what they had to say about it.· I mean ...    18·   ·whatever you are awarded?
19·   · · · Q.· ·Did you talk to any other people about hiring     19·   · · · MR. VLAHAKIS:· Object to the form and ...· I mean,
20·   ·this firm?                                                  20·   ·I guess I'm -- if he wants to generally answer it, but
21·   · · · A.· ·No.· That was more just like me and my wife.      21·   ·are you asking -- I mean, I'll just go question by
22·   ·Yeah.                                                       22·   ·question to see if it's something that you're going to
23·   · · · Q.· ·Do you know if you're paying attorney's fees      23·   ·outside the realm of what would be allowable for, you
24·   ·for this representation of this lawsuit?                    24·   ·know, discovery as to this, as to, you know, class
                                                         Page 47                                                            Page 49
·1·   · · · A.· ·If I'm paying attorney fees?· It depends on       ·1·   ·representation status, so ...
·2·   ·the definition of fees.· Do you mean upfront?               ·2·   · · · · · ·Go ahead and answer if you know, but if you
·3·   · · · Q.· ·Well, have you --                                 ·3·   ·want to reask the question, if you forgot the
·4·   · · · A.· ·Obviously, there's an attorney fee involved.      ·4·   ·question --
·5·   · · · Q.· ·Okay.                                             ·5·   · · · THE WITNESS:· Yeah.
·6·   · · · A.· ·I can tell you that.                              ·6·   · · · MR. VLAHAKIS:· -- the reporter can read it back
                                                                   ·7·   ·too.
·7·   · · · Q.· ·Okay.· So have you paid any fees up to this
                                                                   ·8·   · · · THE WITNESS:· Yeah.
·8·   ·date?
                                                                   ·9·   · · · · · · · · · · ·(From the record above, the
·9·   · · · A.· ·No.                                               ··    · · · · · · · · · · · court reporter read the following:
10·   · · · Q.· ·Okay.                                             10·   · · · · · · · · · · ·("Q.· If you were to prevail or win
11·   · · · A.· ·Not for this, no.                                 ··    ·in this case, do you know whether your attorneys would
12·   · · · Q.· ·Okay.· And have you paid any costs with this      11·   ·get a portion of whatever you are awarded?")
13·   ·lawsuit up to this date?                                    12·   ·BY THE WITNESS:
14·   · · · A.· ·"Costs" meaning ...· What do you mean by costs    13·   · · · A.· ·I can say I'm not aware of the amount. I
15·   ·because we already went over the attorney fees.             14·   ·don't know.
16·   · · · Q.· ·Uh-huh.                                           15·   · · · Q.· ·Okay.· But, I guess, it's a yes or no
17·   · · · A.· ·What -- And we went over that -- the texting      16·   ·question.· If you don't know the amount, that's fine.
18·   ·if that's chargeable.                                       17·   · · · A.· ·Okay.
                                                                   18·   · · · Q.· ·So ...
19·   · · · Q.· ·Uh-huh.
                                                                   19·   · · · A.· ·But if you don't know, is that a yes or no?
20·   · · · A.· ·What would you mean -- Other than that, what
                                                                   20·   · · · Q.· ·If you don't know, you don't know.
21·   ·would you consider a fee?                                   21·   · · · A.· ·Right.· I don't know.
22·   · · · Q.· ·What -- Have you had to pay anything -- any       22·   · · · Q.· ·Okay.· Okay.
23·   ·monetary value for this lawsuit?                            23·   · · · A.· ·So, I mean, that's kind of lying if I say yes
24·   · · · A.· ·Not yet, no.                                      24·   ·if I don't know, right?



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                                                         Page 50                                                            Page 52
·1·   · · · Q.· ·Okay.                                             ·1·   · · · Q.· ·To your knowledge, what is -- I'm going to
·2·   · · · A.· ·That's why I'm saying that.                       ·2·   ·shorten it to the FDCPA.
·3·   · · · Q.· ·Okay.                                             ·3·   · · · A.· ·Uh-huh.
·4·   · · · A.· ·Like, I really don't know the answer, so ...      ·4·   · · · Q.· ·So, to your knowledge, what is the FDCPA?
·5·   · · · Q.· ·Okay.· That's fine.· If you don't know, you       ·5·   · · · A.· ·That's ...· To an extent people can't leave
·6·   ·don't know.                                                 ·6·   ·voicemails or dropped phone calls or not calling you
·7·   · · · MR. VLAHAKIS:· Before you ask another question, can    ·7·   ·without your permission to an extent.
·8·   ·we just take a quick break then?                            ·8·   · · · Q.· ·What do you mean by dropped voicemail?
·9·   · · · MS. STRICKLER:· Yeah.· That's fine.· Sure.             ·9·   · · · A.· ·Meaning where it's not a full ring.· You know
10·   · · · MR. VLAHAKIS:· Okay.                                   10·   ·what I'm saying?· It's not like four rings and then it
11·   · · · · · · · · · · ·(A short break was had.)                11·   ·goes to voicemail.· It literally rings once, you get a
12·   ·BY MS. STRICKLER:                                           12·   ·notification, and then it goes into your voicemail.
13·   · · · Q.· ·All right.· Did you provide any documents to      13·   · · · Q.· ·Okay.
14·   ·your attorneys in this lawsuit?                             14·   · · · A.· ·Like that.· That's what I've heard.
15·   · · · A.· ·Any documents?                                    15·   · · · Q.· ·Okay.
16·   · · · Q.· ·(Nodding.)                                        16·   · · · A.· ·I'm not obviously a lawyer, but that's what
17·   · · · A.· ·Records.                                          17·   ·I've heard about it.
18·   · · · Q.· ·Records?                                          18·   · · · Q.· ·Do you know what an Automated Telephone
19·   · · · A.· ·Yes.                                              19·   ·Dialing System is?
20·   · · · Q.· ·Okay.                                             20·   · · · A.· ·Yeah.· That's pretty much when they auto dial
21·   · · · A.· ·Not paper, but yes.· Yes.                         21·   ·a bunch of phone numbers.
22·   · · · Q.· ·What kind of records?                             22·   · · · Q.· ·And who's "they"?
23·   · · · A.· ·Voicemails and phone calls.                       23·   · · · A.· ·Whatever company is using it or whatever
24·   · · · Q.· ·Was there anything else?                          24·   ·program they hire to use that.
                                                         Page 51                                                            Page 53
·1·   · · · A.· ·Nope.                                             ·1·   · · · Q.· ·Do you know what a predictive dialer is?
·2·   · · · Q.· ·And can you explain in your own words why it      ·2·   · · · A.· ·I have never heard of that.
·3·   ·is you filed this lawsuit?                                  ·3·   · · · Q.· ·And do you know what a pre-recorded message
·4·   · · · A.· ·Why I filed it?                                   ·4·   ·is?
·5·   · · · Q.· ·Correct.                                          ·5·   · · · A.· ·Yes.
·6·   · · · A.· ·Because I felt that I was being harassed.         ·6·   · · · Q.· ·Can you explain that to me in your own words?
·7·   · · · Q.· ·And do you know what the laws under which you     ·7·   · · · A.· ·A pre-recorded message is someone leaving a
·8·   ·are suing FAMS?                                             ·8·   ·voicemail that's automated.· It's not a live person.
·9·   · · · A.· ·Do I -- Am I aware of them?                       ·9·   ·And they're saying to you -- They'll usually -- They may
10·   · · · Q.· ·Yes.                                              10·   ·or may not use the company name and they'll say call
11·   · · · A.· ·Yes.                                              11·   ·back this number.· If it's some medical related ones,
12·   · · · Q.· ·Okay.· Do you know what they are?                 12·   ·they'll say who to call back, but pretty much straight
13·   · · · A.· ·Like, specifically?                               13·   ·to the point, it's not a live person.· It's pre-recorded
14·   · · · Q.· ·Do you know the names?                            14·   ·by the company or whoever they use to say them to call
15·   · · · A.· ·No.                                               15·   ·back at this number.
16·   · · · Q.· ·Okay.· Have you heard of the Telephone            16·   · · · Q.· ·Do you know what skip tracing is?
17·   ·Consumer Protection Act?                                    17·   · · · A.· ·I've heard of it.
18·   · · · A.· ·I've heard of the name, but I'm not that          18·   · · · Q.· ·Okay.· To the best of your knowledge, what is
19·   ·familiar with it.                                           19·   ·skip tracing?
20·   · · · Q.· ·Okay.· Have you heard of the Fair Debt            20·   · · · A.· ·Skip tracing is pretty much looking up phone
21·   ·Collection Practices Act?                                   21·   ·numbers attached to either a person's ID or their family
22·   · · · A.· ·I've heard of it, yes.                            22·   ·and calling everyone on that list.
23·   · · · Q.· ·And are you familiar with it?                     23·   · · · Q.· ·What do you mean by someone's ID?
24·   · · · A.· ·Somewhat.· Not extremely.                         24·   · · · A.· ·Did I say ID?· By their last name.· I'm sorry.



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·1·   · · · Q.· ·Last name?· Okay.                                 ·1·   ·showing that FAMS used an ATDS?
·2·   · · · A.· ·Why did I say ID?                                 ·2·   · · · A.· ·Any documents?
·3·   · · · Q.· ·That's okay.· I just wanted to clarify.           ·3·   · · · Q.· ·Yeah.
·4·   · · · A.· ·No.· By the -- either their last name or          ·4·   · · · A.· ·That depends on my Sprint records.· I may or
·5·   ·whoever else is associated with the address.· Typically     ·5·   ·may not.· I mean ...· Yeah, I really don't know that. I
·6·   ·they do last name so they'll take anyone with that last     ·6·   ·can't answer yes or no if I don't know.
·7·   ·name and try to contact them with or without their          ·7·   · · · Q.· ·Okay.
·8·   ·permission.                                                 ·8·   · · · A.· ·I'm -- I've got to be honest.· I ...
·9·   · · · Q.· ·Okay.                                             ·9·   · · · Q.· ·I want you to be honest.
10·   · · · A.· ·Yes.                                              10·   · · · A.· ·No.· No.· I'm saying because I don't want to
11·   · · · Q.· ·And I'm going to shorten Automated Telephone      11·   ·say no and then if I really do know or maybe do know,
12·   ·Dialing System to ATDS.· Is that okay?                      12·   ·that's also lying, so ...
13·   · · · A.· ·Uh-huh.                                           13·   · · · Q.· ·I understand.
14·   · · · Q.· ·Okay.· In your complaint you allege that FAMS     14·   · · · · · ·The calls that you were receiving from FAMS,
15·   ·called you using an ATDS; is that correct?                  15·   ·were they always from the same number?
16·   · · · A.· ·Uh-huh.                                           16·   · · · A.· ·No.
17·   · · · Q.· ·Okay.                                             17·   · · · Q.· ·Do you recall what numbers you received calls
18·   · · · A.· ·Yes.                                              18·   ·from FAMS?
19·   · · · Q.· ·What is your basis for making that allegation?    19·   · · · A.· ·I know a lot of them were 866.· I do have
20·   · · · A.· ·They -- Number one, they didn't have my phone     20·   ·caller ID, but sometimes it would still change, the
21·   ·number and they were still trying to con- -- They           21·   ·number.· So it would pop up under FAMS, but the number
22·   ·weren't trying to contact me and they were doing that at    22·   ·would be different.
23·   ·around the same time that they were trying to do it with    23·   · · · Q.· ·So it actually displayed that it was --
24·   ·my mother's phone number.· So that -- That's where I'm      24·   · · · A.· ·Caller ID.
                                                         Page 55                                                            Page 57
·1·   ·getting that -- they're using that type of a system.        ·1·   · · · Q.· ·-- calling from --
·2·   ·And I'll at least say that when I did speak to someone,     ·2·   · · · A.· ·Yes.
·3·   ·they openly admitted that they got my name off of a         ·3·   · · · Q.· ·Not just the number?· There was actual --
·4·   ·list.· And when I asked what type of list, they refused     ·4·   · · · A.· ·FAMS.
·5·   ·to answer.· So they admitted that they got my name off      ·5·   · · · Q.· ·-- identif- --
·6·   ·of a list -- my number.· I'm sorry.· So I don't know        ·6·   · · · A.· ·It literally said FAMS on it.
·7·   ·what list they're referring to, but that definitely         ·7·   · · · Q.· ·Okay.
·8·   ·plays a part of that assumption.                            ·8·   · · · A.· ·Yeah.
·9·   · · · Q.· ·Okay.· So that's your basis --                    ·9·   · · · Q.· ·Was this notif- -- I guess, was FAMS displayed
10·   · · · A.· ·Right.                                            10·   ·with the voicemails?
11·   · · · Q.· ·-- for alleging they used an ATDS?                11·   · · · A.· ·Missed calls.
12·   · · · A.· ·Right.                                            12·   · · · Q.· ·Missed calls?· Okay.
13·   · · · Q.· ·Okay.· Is there any other reasons that you can    13·   · · · A.· ·Yeah.· Voicemails, you have to check.· It's
14·   ·think of?                                                   14·   ·not going to tell you like on there -- Like, the caller
15·   · · · A.· ·Not off the top of my head.                       15·   ·ID doesn't transfer to voicemail.
16·   · · · Q.· ·Do you know what VoApps is?                       16·   · · · Q.· ·Okay.
17·   · · · A.· ·I've heard of the company.                        17·   · · · A.· ·You still got to check your voicemail with
18·   · · · Q.· ·Okay.· What is your understanding of what         18·   ·the -- Yeah.
19·   ·VoApps is?                                                  19·   · · · Q.· ·Is there anyone that witnessed or observed you
20·   · · · A.· ·I've literally just heard of the company.         20·   ·receiving any calls from FAMS?
21·   · · · Q.· ·Okay.                                             21·   · · · A.· ·There's a few.· I mean, they -- But I didn't
22·   · · · A.· ·So, no, I don't really understand what VoApps     22·   ·really talk about it.
23·   ·is.                                                         23·   · · · Q.· ·Okay.
24·   · · · Q.· ·Okay.· Are you in possession of any documents     24·   · · · A.· ·But, yes, there's witnesses.



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·1·   · · · Q.· ·Do you recall who?                                ·1·   · · · Q.· ·Earlier we discussed some of the injuries that
·2·   · · · A.· ·There's someone that I used to -- I was           ·2·   ·you suffered from the calls you received from the other
·3·   ·working on my house in River Grove with, but that was a     ·3·   ·companies?
·4·   ·contractor, so ...                                          ·4·   · · · A.· ·Uh-huh.
·5·   · · · Q.· ·Do you know the name of this person?              ·5·   · · · Q.· ·Would you say that you experienced similar
·6·   · · · A.· ·Yeah.· You want the full name?                    ·6·   ·injuries from FAMS?
·7·   · · · Q.· ·Sure.· Yeah, if you have it.                      ·7·   · · · A.· ·Oh, definitely headaches and chest pains
·8·   · · · A.· ·Yeah.· I've got him in my phone.· I know he       ·8·   ·especially when you're recreating a situation in some
·9·   ·just goes by JT, but I don't know the full name.· I've      ·9·   ·sense.
10·   ·got his phone number.                                       10·   · · · Q.· ·And you were suffering the same kind of
11·   · · · Q.· ·Does he have any knowledge about the calls you    11·   ·symptoms then?
12·   ·received?                                                   12·   · · · A.· ·Yeah.
13·   · · · A.· ·No.                                               13·   · · · Q.· ·Did you experience anxiety?
14·   · · · Q.· ·Was there anybody else that observed you          14·   · · · A.· ·Yes.
15·   ·receiving calls from FAMS?                                  15·   · · · Q.· ·Have you suffered from anxiety in the past?
16·   · · · A.· ·My old co-worker at work who's fired, but I       16·   · · · A.· ·Not since maybe 2017.· Not before I got --
17·   ·don't think I can contact him.                              17·   ·began getting harassed, no.
18·   · · · Q.· ·Do you remember his name?                         18·   · · · Q.· ·Not before 2017?
19·   · · · A.· ·Yeah.· It was Jason.                              19·   · · · A.· ·Right.
20·   · · · Q.· ·Do you recall his last name?                      20·   · · · Q.· ·And did you see a doctor due to the anxiety?
21·   · · · A.· ·No.· He's just my co-worker.                      21·   · · · A.· ·I saw them in 2017.· That's when they said
22·   · · · Q.· ·Okay.· And did he have any knowledge about the    22·   ·it's mainly stress.· They didn't give me anything.
23·   ·calls that you were receiving?                              23·   · · · Q.· ·Okay.· That was when you saw him for the chest
24·   · · · A.· ·He's just wondering who was -- Because I think    24·   ·pains?
                                                         Page 59                                                            Page 61
·1·   ·that was a time where it was like two or three times in     ·1·   · · · A.· ·I -- Yeah.· It was the same thing.· They
·2·   ·a day.· He's like who keeps on calling you at work?         ·2·   ·pretty much labeled it anxiety and stress related.· They
·3·   · · · Q.· ·Do you recall when this was?                      ·3·   ·wanted to put me on something, but they didn't want to
·4·   · · · A.· ·Like, maybe six or seven months ago.· I don't     ·4·   ·counteract with my seizure medications, so ...
·5·   ·know offhand.· I don't talk about legal actions, but,       ·5·   · · · Q.· ·I see.· Okay.· Did anybody witness you
·6·   ·you know, people are going to ask.· They're like, who --    ·6·   ·experiencing these symptoms?
·7·   ·why is this person calling you like more than twice?        ·7·   · · · A.· ·My mother.
·8·   ·Because the thing is I'm at work in receiving.· I can't     ·8·   · · · Q.· ·Was there anybody else?
·9·   ·receive phone calls and we can get in trouble for that,     ·9·   · · · A.· ·No.
10·   ·like fired if it's caught so we tend to have an             10·   · · · Q.· ·What's your mother's name?
11·   ·understanding of telling people that we know don't call     11·   · · · A.· ·Corinne Molinari.
12·   ·me at work.· But, yeah, you're still going to get phone     12·   · · · Q.· ·How do you spell Corinne?
13·   ·calls and, you know, you get those sales calls.· I get      13·   · · · A.· ·It's spelled C O R I N N E and then Molinari
14·   ·calls -- I got one call from India.· I can't tell India     14·   ·is the same, M O L I N A R I.
15·   ·to stop calling me, but ...· So they -- It alerts people    15·   · · · Q.· ·So one of the allegations in your complaint
16·   ·because when you normally don't get a lot of phone calls    16·   ·states that FAMS -- the unwanted calls severely
17·   ·at work and then you're starting to get phone calls,        17·   ·disrupted your daily life.· How did the calls severely
18·   ·they're kind of like who keeps on calling you?· Why         18·   ·disrupt your daily life?
19·   ·don't you just tell them to stop?· I'm just like I don't    19·   · · · A.· ·Work.
20·   ·want to talk about it.· Like, it is what it is.             20·   · · · Q.· ·So it took away from you working?
21·   · · · Q.· ·Okay.· Is there anyone besides you and your       21·   · · · A.· ·Yes.
22·   ·attorneys who have listened to the voicemails that FAMS     22·   · · · Q.· ·Anything else?
23·   ·has left on your cell phone?                                23·   · · · A.· ·Or if it wasn't that, it was driving.
24·   · · · A.· ·Nope.                                             24·   ·Obviously, I'm not going to answer a phone if I'm



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·1·   ·driving, but it's distraction.                              ·1·   · · · Q.· ·I'm asking what you mean by that.· Did you
·2·   · · · Q.· ·Anything else?                                    ·2·   ·feel like your privacy was invaded?
·3·   · · · A.· ·Sleep a few times.                                ·3·   · · · A.· ·Well, obviously, I didn't give them permission
·4·   · · · Q.· ·You couldn't sleep?                               ·4·   ·to call me.
·5·   · · · A.· ·No.· I got a phone call when I was sleeping.      ·5·   · · · Q.· ·Okay.
·6·   · · · Q.· ·Oh, I see.· I see.· Okay.                         ·6·   · · · A.· ·And they were calling from more than one
·7·   · · · A.· ·So that kind of woke me up.· I'm like ...         ·7·   ·number.· I felt that definitely when they used my
·8·   · · · Q.· ·One of the other allegations was that you said    ·8·   ·mother's number, then she found out about that.· So I
·9·   ·that FAMS invaded your privacy.· Can you explain how you    ·9·   ·definitely say that that definitely ...
10·   ·felt that they invaded your privacy?                        10·   · · · Q.· ·Besides what we've already discussed today,
11·   · · · A.· ·Invaded my privacy?· What ...                     11·   ·are there any other types of injuries you believe FAMS
12·   · · · MS. STRICKLER:· I can -- Let's mark this as -- Do      12·   ·has caused you?
13·   ·you care what we mark it as?                                13·   · · · A.· ·Nope.
14·   · · · MR. VLAHAKIS:· No, not at all.                         14·   · · · Q.· ·Do you have any documentation, anything on
15·   · · · MS. STRICKLER:· Okay.· We'll just --                   15·   ·paper that supports the injuries that you have alleged?
16·   · · · MR. VLAHAKIS:· Are you asking him in addition to       16·   · · · A.· ·Paperwork supporting my injuries like when I
17·   ·what's he's testified to earlier or do you just want him    17·   ·went?· What do you mean?
18·   ·to expand on it or what?                                    18·   · · · Q.· ·So I guess you said that you suffered stress.
19·   · · · MS. STRICKLER:· It's an allegation in the complaint    19·   ·Would you have anything that would explain this or any
20·   ·so I'll point it to you so you can see it.                  20·   ·sort of documentation that would support your symptoms?
21·   · · · MR. VLAHAKIS:· Sure.                                   21·   · · · A.· ·Other than what a doctor saw.· Obviously that.
22·   · · · MS. STRICKLER:· So let's mark this as Defendant's      22·   ·There could be documentation of that.· I'd have to talk
23·   ·Exhibit 1.· That's fine.                                    23·   ·to the doctor, but I'm sure I can arrange that.
24                                                                 24·   · · · Q.· ·The doctor that you saw, though, was that for
                                                         Page 63                                                            Page 65
·1·   · · · · · · · · · · ·(Defendant's Deposition Exhibit         ·1·   ·the symptoms that you suffered because of FAMS?
·2·   · · · · · · · · · · · No. 1 marked for identification.)      ·2·   · · · A.· ·At the time, yes.
·3·   ·BY MS. STRICKLER:                                           ·3·   · · · Q.· ·So was that the -- You were receiving calls
·4·   · · · Q.· ·I'll have you take a look at that and let me      ·4·   ·from FAMS when you saw the doctor?
·5·   ·know when you are ready.                                    ·5·   · · · A.· ·Yes.
·6·   · · · MR. VLAHAKIS:· You gave me the -- You gave us the      ·6·   · · · Q.· ·Okay.· What was the doctor's name that you
·7·   ·Comenity one I think.                                       ·7·   ·saw, if you recall?
·8·   · · · MS. STRICKLER:· I did?                                 ·8·   · · · A.· ·Dr. Cosgrove.
·9·   · · · MR. VLAHAKIS:· Yeah.· Uh-huh.                          ·9·   · · · Q.· ·Is that C O S --
10·   · · · MS. STRICKLER:· Oh.· Well, I know I have the other     10·   · · · A.· ·I believe so.
11·   ·one in here.                                                11·   · · · Q.· ·-- G R O V E?
12·   · · · THE WITNESS:· What is Comenity doing here?             12·   · · · A.· ·Yeah.
13·   · · · MS. STRICKLER:· Maybe I don't have it.· All right.     13·   · · · Q.· ·Where is Dr. Cosgrove's office?
14·   ·Let's take this out, the exhibit.                           14·   · · · A.· ·He's in Munster, Indiana.
15·   ·BY MS. STRICKLER:                                           15·   · · · Q.· ·Munster, Indiana?
16·   · · · Q.· ·Okay.· What I will say, so one of the             16·   · · · A.· ·Yeah.· It's maybe about a half an hour.
17·   ·allegations in your complaint -- Do you know what I mean    17·   · · · Q.· ·Do you know what his practice is called?
18·   ·when I say your complaint?                                  18·   · · · A.· ·He's just -- I just know him under general
19·   · · · A.· ·Yes.                                              19·   ·practice.· Yeah.
20·   · · · Q.· ·Okay.                                             20·   · · · Q.· ·Okay.· He doesn't work at a hospital, or ...
21·   · · · A.· ·Yeah.                                             21·   · · · A.· ·He works through the Munster -- I think he
22·   · · · Q.· ·It stated that FAMS' calls invaded your           22·   ·used to work in St. Margaret.· I've got the -- He just
23·   ·privacy.                                                    23·   ·moved.· I don't know if I got his card, but I know he
24·   · · · A.· ·Okay.                                             24·   ·works through the Munster Hospital.



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·1·   · · · Q.· ·He just moved to Munster?                         ·1·   ·accurately enough.
·2·   · · · A.· ·No.· Moved to the new location, but yeah.         ·2·   · · · Q.· ·Okay.
·3·   · · · Q.· ·Okay.· And where did you say that was?            ·3·   · · · A.· ·I can't.· I -- I ...
·4·   · · · A.· ·What?                                             ·4·   · · · Q.· ·Let's move on.· Do you know what a class
·5·   · · · Q.· ·Where did you say that was?                       ·5·   ·action lawsuit is?
·6·   · · · A.· ·I just know it was in Munster.                    ·6·   · · · A.· ·Yes, I do.
·7·   · · · Q.· ·Okay.                                             ·7·   · · · Q.· ·Okay.· What does that mean to you?
·8·   · · · A.· ·Yeah.· I don't remember the name of the --        ·8·   · · · A.· ·That a class action lawsuit instead of like a
·9·   ·what the practice is called.· I just know him by just       ·9·   ·person individually suing someone, you're pretty much
10·   ·going there.                                                10·   ·getting like 20 or 30 people's opinion and kind of 20 or
11·   · · · Q.· ·But he was in Munster in 2017 --                  11·   ·30 people are suing that company or that organization
12·   · · · A.· ·Right.                                            12·   ·for the same thing.· So let's just give an example here.
13·   · · · Q.· ·-- when you saw him?                              13·   ·Say that a workplace was harassing 30 of their
14·   · · · A.· ·Yes.                                              14·   ·employees.· Instead of one guy saying you're harassing
15·   · · · Q.· ·Okay.· What is it that you are trying to          15·   ·me, well, now those 30 people are getting together in a
16·   ·accomplish by suing FAMS?                                   16·   ·class action and representing all -- anything that was
17·   · · · A.· ·What am I trying to accomplish?                   17·   ·affected by each individual.· So it's more of a group
18·   · · · Q.· ·Correct.                                          18·   ·setting towards it.
19·   · · · MR. VLAHAKIS:· Object to the form of the question.     19·   · · · Q.· ·Okay.· And you understand that this lawsuit is
20·   ·BY THE WITNESS:                                             20·   ·a class action?
21·   · · · A.· ·I can't really answer that yes or no so I         21·   · · · A.· ·Yes, I do.
22·   ·can't really describe that.                                 22·   · · · Q.· ·Okay.· What is your understanding of what the
23·   · · · Q.· ·What is it that you want to happen?· What is      23·   ·proposed class is in this lawsuit?
24·   ·the outcome that you want from this lawsuit?                24·   · · · A.· ·What do you mean what the proposed ...
                                                         Page 67                                                            Page 69
·1·   · · · MR. VLAHAKIS:· Object to the form of the question.     ·1·   · · · Q.· ·I guess, what is your understanding of the
·2·   ·BY THE WITNESS:                                             ·2·   ·people that would be a part of this class?
·3·   · · · A.· ·Yeah, I can't really answer that right now.       ·3·   · · · A.· ·It's pretty much people who have been affected
·4·   · · · Q.· ·Are you hoping to get money?                      ·4·   ·by these phone calls, whether it's emotional, whether
·5·   · · · A.· ·No.· I -- That's not exactly the whole            ·5·   ·it's physical, whether it's caused them to end
·6·   ·reasoning behind things.                                    ·6·   ·relationships, whether it's caused conflict.· It's
·7·   · · · Q.· ·But is that part of the reason?                   ·7·   ·generalizing that in how many people it's affected.· So,
·8·   · · · A.· ·I don't even know how to answer that because I    ·8·   ·again, like instead of just affecting one person by
·9·   ·could say -- you could say one percent is a part. I         ·9·   ·phone calls or voicemails, now you've affected
10·   ·can't really answer that accurately.· If -- I mean ...      10·   ·20 people.
11·   ·It's definitely more than money.· That's all I can say.     11·   · · · Q.· ·Do you know what a class representative is?
12·   · · · Q.· ·Okay.· But you can't --                           12·   · · · A.· ·Yes.
13·   · · · A.· ·It's more of a -- Part of it's an                 13·   · · · Q.· ·Okay.· What does that mean to you?
14·   ·understanding of what they've caused.                       14·   · · · A.· ·That's more of a person that's representing a
15·   · · · Q.· ·Okay.                                             15·   ·class in pretty much how that can affect.· So say -- I'm
16·   · · · A.· ·But ...                                           16·   ·just going to give you an example.· Say that I'm a class
17·   · · · Q.· ·What do you mean by that?                         17·   ·representative and a bunch of people got harassed at
18·   · · · A.· ·An understanding of how it really affects and     18·   ·work.· I'm just using at work as an example.· I'm
19·   ·how they really can affect it in something that just is     19·   ·representing and I'm using me as an example because of
20·   ·not money related where, oh, I'm going to start a           20·   ·how I've been affected and that I'm a good example of
21·   ·lawsuit because I want some money.· It's not about that.    21·   ·how can it be affected to represent those people because
22·   ·But, yeah, I can't really -- I can't really answer that.    22·   ·I already know what the -- I've already experienced it
23·   · · · Q.· ·Okay.                                             23·   ·and I also want to help them because I'm sure they -- if
24·   · · · A.· ·That's not a -- You know, I can't answer it       24·   ·I've suffered, I know they've suffered so that you're



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·1·   ·representing that class.· And that's the best way I can     ·1·   ·if this can cause this or this can cause that.· That's
·2·   ·describe it other than just going on a five-minute          ·2·   ·how I feel.
·3·   ·speech, but ...                                             ·3·   · · · Q.· ·What kind of qualities do you think make a
·4·   · · · Q.· ·That works for me.· And you understand that       ·4·   ·good class representative?
·5·   ·you're the class representative in this lawsuit?            ·5·   · · · A.· ·Someone that's approachable I believe and
·6·   · · · A.· ·Yes.                                              ·6·   ·someone that has experienced situations.· If you haven't
·7·   · · · Q.· ·Okay.· Do you know what your duties are as a      ·7·   ·experienced something, I don't know how you could
·8·   ·class representative?                                       ·8·   ·qualify that.· If you haven't experienced anything
·9·   · · · A.· ·Yes.· There's -- Obviously, there's research.     ·9·   ·related to a class action lawsuit that the class action
10·   ·And if I get called for anything, obviously, I have to      10·   ·lawsuit is in -- Again, I'm giving you an example.
11·   ·attend that.                                                11·   ·You're suing a workplace harassment and you've never
12·   · · · Q.· ·What do you mean by research?                     12·   ·been harassed.· That's not a good candidate.· You've got
13·   · · · A.· ·Just doing research, seeing any, like -- How      13·   ·to been through it, so ...
14·   ·should I say it?· Not really research because I don't       14·   · · · Q.· ·So prior experience before --
15·   ·believe you can ...· I mean, you could research other       15·   · · · A.· ·Right.· Right.
16·   ·people's situation to an extent because you are the         16·   · · · Q.· ·Okay.
17·   ·class representative so you would want to know what         17·   · · · A.· ·But that, you know, anyone that's -- anyone --
18·   ·happened to them because if I'm representing a class, I     18·   ·people can -- they can feel they can, you know,
19·   ·want to at least know how that affected them.· So that's    19·   ·communicate with someone that's going to have an
20·   ·what I mean by research, is really understanding what       20·   ·understanding of people's situations, too.· I think
21·   ·happened to the other individuals involved.· Maybe          21·   ·that's a big thing.
22·   ·research was the wrong wording.                             22·   · · · Q.· ·Were you promised anything to be a plaintiff
23·   · · · Q.· ·You also said if you get called in for            23·   ·in this lawsuit?
24·   ·something.· What do you mean by that?                       24·   · · · MR. VLAHAKIS:· Object to the form of the question.
                                                         Page 71                                                            Page 73
·1·   · · · A.· ·Anytime -- Well, if any questioning that I        ·1·   ·BY MS. STRICKLER:
·2·   ·have to go to or anything legal related, that's what I      ·2·   · · · Q.· ·You can answer.
·3·   ·meant by calling in or --                                   ·3·   · · · A.· ·(Shaking head.)
·4·   · · · Q.· ·Okay.· Like the --                                ·4·   · · · Q.· ·Verbally.
·5·   · · · A.· ·-- any other --                                   ·5·   · · · A.· ·No.
·6·   · · · Q.· ·-- deposition today?                              ·6·   · · · Q.· ·Okay.
·7·   · · · A.· ·Right.· Right.· Any of that or any other          ·7·   · · · A.· ·Nope.· Never promised one thing.
·8·   ·depositions that I might have, yeah.                        ·8·   · · · Q.· ·Do you know anyone else that has received
·9·   · · · Q.· ·Can you think of any other duties that you        ·9·   ·calls from FAMS?
10·   ·would have as a class representative?                       10·   · · · A.· ·Do I know?
11·   · · · A.· ·Just really be there for any support that the     11·   · · · Q.· ·Yes.
12·   ·other people need.                                          12·   · · · A.· ·Well, yes.· Yeah.· They're out of state.
13·   · · · Q.· ·And do you believe that you are an adequate       13·   · · · Q.· ·Do you know the names of these people?
14·   ·representative?                                             14·   · · · A.· ·No.· I've seen them like -- I've seen posts
15·   · · · A.· ·Yes, I do.· I'm an extreme case.· I'm getting     15·   ·about it Online.· I don't know them.
16·   ·divorced because of this.· I've dealt with headaches.       16·   · · · Q.· ·Okay.· So you don't know anybody personally?
17·   ·This is seriously -- You know, there's different levels     17·   · · · A.· ·Right.· Right.· I don't know them.
18·   ·of how it affects people and I feel that it affected me     18·   · · · Q.· ·Okay.
19·   ·very highly -- or very -- highly affected me not -- not     19·   · · · A.· ·Except old co-workers that I no longer work
20·   ·good high, but it was more of an extreme case.· Now,        20·   ·with, but yes.
21·   ·let's say that I just said the only thing was that, oh,     21·   · · · Q.· ·They received calls?
22·   ·I missed a stoplight and that was my only thing.· How am    22·   · · · A.· ·Yes.
23·   ·I going to represent a class?· But I feel the class         23·   · · · Q.· ·Okay.· When did they receive the calls are you
24·   ·representative should have that extreme case, that what     24·   ·aware?



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                                                         Page 74                                                            Page 76
·1·   · · · A.· ·This is in like 2015 or '14.· I don't even        ·1·   · · · MR. VLAHAKIS:· Okay.· In that context, you
·2·   ·work with them anymore, though.                             ·2·   ·remember, though, there was discussions about a monetary
·3·   · · · Q.· ·Okay.                                             ·3·   ·compensation?
·4·   · · · A.· ·They have like ...                                ·4·   · · · THE WITNESS:· Okay.
·5·   · · · Q.· ·Do you know if you have retained an expert in     ·5·   · · · MR. VLAHAKIS:· They were trying to -- that FAMS
·6·   ·this lawsuit?                                               ·6·   ·made to you in the context of the settlement conference,
·7·   · · · A.· ·Retained an expert as in ...                      ·7·   ·correct?
·8·   · · · Q.· ·Did you hire anybody other than your attorneys    ·8·   · · · THE WITNESS:· Right.
·9·   ·to give any sort of opinion related to this lawsuit?        ·9·   · · · MR. VLAHAKIS:· Okay.· Do you want to ask him
10·   · · · A.· ·No.                                               10·   ·anything about that?
11·   · · · Q.· ·If this case were to go to trial, do you know     11·   · · · MS. STRICKLER:· Sure.
12·   ·any of the individuals you would -- you intend to call      12·   · · · MR. VLAHAKIS:· We could say --
13·   ·as a witness?                                               13·   · · · MS. STRICKLER:· Yeah.
14·   · · · MR. VLAHAKIS:· Object to the form of the question,     14·   · · · MR. VLAHAKIS:· We could say that it would be
15·   ·also since it's premature before any court deadline and     15·   ·subject to confidentiality in case part of this becomes
16·   ·some of that may even involve work product as well.         16·   ·public record.
17·   ·If -- He can answer without discussing what we may have     17·   · · · MS. STRICKLER:· Sure.
18·   ·discussed, I guess.                                         18·   · · · MR. VLAHAKIS:· Okay.
19·   · · · THE WITNESS:· Right.                                   19·   · · · MS. STRICKLER:· And I don't have to ask the
20·   ·BY THE WITNESS:                                             20·   ·nitty-gritty about it.
21·   · · · A.· ·Yeah, I can't answer that.                        21·   ·BY MS. STRICKLER:
22·   · · · Q.· ·Are you aware of any settlement offers made by    22·   · · · Q.· ·So you attended the settlement conference in
23·   ·FAMS in this case?                                          23·   ·this lawsuit?
24·   · · · A.· ·No.                                               24·   · · · A.· ·Yes.
                                                         Page 75                                                            Page 77
·1·   · · · Q.· ·Do you have any personal knowledge regarding      ·1·   · · · Q.· ·Okay.· And there was an offer that FAMS made
·2·   ·your attorney's experience in handling class actions?       ·2·   ·at that conference, correct?
·3·   · · · A.· ·I'm sorry.· You have to repeat the question.      ·3·   · · · A.· ·Yes.
·4·   · · · Q.· ·Sure.· Do you have any personal knowledge         ·4·   · · · Q.· ·Okay.· And did you reject this offer?
·5·   ·about your attorney's experience handling class action      ·5·   · · · A.· ·Yes.
·6·   ·lawsuits?                                                   ·6·   · · · Q.· ·Okay.· Do you recall any other offers that
·7·   · · · A.· ·Not that much.· I -- No.                          ·7·   ·were made in this lawsuit?
·8·   · · · Q.· ·Just a general ...                                ·8·   · · · A.· ·Not to my knowledge, no.· Not that I can --
·9·   · · · A.· ·Just general.· General.                           ·9·   ·No.
10·   · · · Q.· ·Do you have any documents supporting their        10·   · · · MS. STRICKLER:· Okay.· I think that works.
11·   ·experience as class counsel?                                11·   · · · MR. VLAHAKIS:· Uh-huh.
12·   · · · A.· ·No, not that I know of.                           12·   · · · MS. STRICKLER:· We'll just take a short break?
13·   · · · MS. STRICKLER:· I think I'm almost done.· Do you       13·   · · · MR. VLAHAKIS:· Uh-huh.
14·   ·want -- We can take a break.                                14·   · · · · · · · · · · ·(A short break was had.)
15·   · · · MR. VLAHAKIS:· Yeah.· I'll just ask a clarification    15·   ·BY MS. STRICKLER:
16·   ·question -- I had too much coffee -- because, I mean,       16·   · · · Q.· ·All right.· I just have a few questions for
17·   ·you weren't there, but he was -- he attended the            17·   ·you.· Your current phone that you have right now, is
18·   ·settlement conference.· I think --                          18·   ·that the phone that you received the calls from FAMS?
19·   · · · THE WITNESS:· Yeah.                                    19·   · · · A.· ·This phone (gesturing)?
20·   · · · MR. VLAHAKIS:· I don't know -- Because are you         20·   · · · Q.· ·Yes.
21·   ·uncomfortable answering that question because the judge     21·   · · · A.· ·It was the same phone, but not the same
22·   ·talked about the fact that what happened there has to be    22·   ·voicemail app.
23·   ·confidential?                                               23·   · · · Q.· ·Okay.
24·   · · · THE WITNESS:· Yes.                                     24·   · · · A.· ·It was updated.



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·1·   · · · Q.· ·There was an updated software within that         ·1·   · · · A.· ·Uh-huh.
·2·   ·phone?                                                      ·2·   · · · Q.· ·Correct?
·3·   · · · A.· ·Yes.                                              ·3·   · · · MR. VLAHAKIS:· Object to the form of the question.
·4·   · · · Q.· ·Okay.                                             ·4·   ·I don't know if he said that was regarding to FAMS or is
·5·   · · · A.· ·Uh-huh.                                           ·5·   ·he talking about the VoApp stuff.· You might want to
·6·   · · · Q.· ·You said that as a result of these calls and      ·6·   ·double-check.
·7·   ·calls from the prior companies that you're getting a        ·7·   · · · MS. STRICKLER:· Okay.
·8·   ·divorce?                                                    ·8·   ·BY MS. STRICKLER:
·9·   · · · A.· ·Yes.                                              ·9·   · · · Q.· ·Were you receiving the -- I think you called
10·   · · · Q.· ·Okay.· Is that in the process?                    10·   ·it the direct drop voicemail?
11·   · · · A.· ·That's in the process.                            11·   · · · A.· ·Direct drop?
12·   · · · Q.· ·Okay.                                             12·   · · · Q.· ·Do you recall that?
13·   · · · A.· ·I've already discussed it with a lawyer and       13·   · · · A.· ·What do you mean by direct drop?
14·   ·it's probably weeks away from starting.· I mean, it's --    14·   · · · Q.· ·Do you -- Let me see what you ...· When you
15·   ·it -- It's being done.                                      15·   ·received voicemails from FAMS --
16·   · · · Q.· ·Okay.· Before, did your wife ever have            16·   · · · A.· ·Uh-huh.
17·   ·permission to use your number?                              17·   · · · Q.· ·-- did the phone ring and then go to
18·   · · · A.· ·Use my number?· No.                               18·   ·voicemail?
19·   · · · Q.· ·Okay.· Did you ever give her permission to use    19·   · · · A.· ·Yes, the phone rang and then go to voicemail.
20·   ·your number as an emergency contact?                        20·   · · · Q.· ·Okay.· Did it ring for a period of time,
21·   · · · A.· ·I never gave her permission, no.                  21·   ·or ...
22·   · · · Q.· ·Do you know if she used your number as an         22·   · · · A.· ·It rang once.
23·   ·emergency contact?                                          23·   · · · Q.· ·Okay.
24·   · · · A.· ·Not to my knowledge.                              24·   · · · A.· ·Yeah.
                                                         Page 79                                                            Page 81
·1·   · · · Q.· ·Okay.· Earlier we were talking about the way      ·1·   · · · Q.· ·Was that the regular ring tone that you
·2·   ·you receive calls and texts and voicemails.· Do you have    ·2·   ·received for other calls?
·3·   ·a different sound notification for phone calls,             ·3·   · · · A.· ·If the phone -- Yeah, if the phone rings, the
·4·   ·voicemails, and text messages?                              ·4·   ·phone rings.
·5·   · · · A.· ·Not unless I change it.                           ·5·   · · · Q.· ·Okay.· It was just one ring --
·6·   · · · Q.· ·Okay.· So it's all the same?                      ·6·   · · · A.· ·Yeah.· It was not -- Yeah.· Yeah.· I mean, the
·7·   · · · A.· ·No.· Well, let me -- The voicemail and the        ·7·   ·phone only has one ring no matter what, so ...
·8·   ·missed calls are the same.· It's different than if I        ·8·   · · · Q.· ·Okay.
·9·   ·have e-mails, though.                                       ·9·   · · · A.· ·It was a regular ring like someone is calling
10·   · · · Q.· ·Okay.                                             10·   ·you.
11·   · · · A.· ·So voicemail and missed calls are the same.       11·   · · · Q.· ·Uh-huh.· Okay.
12·   · · · Q.· ·Okay.· What about when your phone rings?          12·   · · · A.· ·And then it went to voicemail.
13·   · · · A.· ·That's just a regular ring.· I mean -- You        13·   · · · Q.· ·How long did that ring last?
14·   ·mean, is it a different ring tone?                          14·   · · · A.· ·One ring.· I mean ...
15·   · · · Q.· ·Yeah.                                             15·   · · · Q.· ·Okay.
16·   · · · A.· ·Yeah.· Now, if it's -- it's a ding, it's a        16·   · · · A.· ·It's one ring, like however ring it takes. A
17·   ·different -- It's a regular ring tone.                      17·   ·second.
18·   · · · Q.· ·Okay.                                             18·   · · · Q.· ·Was it enough time for you to answer?
19·   · · · A.· ·Yeah.· It's not --                                19·   · · · A.· ·Not one ring.
20·   · · · Q.· ·It's not just the ding?                           20·   · · · Q.· ·Okay.
21·   · · · A.· ·Right.· Right.                                    21·   · · · A.· ·No.· Especially at work I can't even answer
22·   · · · Q.· ·Okay.· When you were getting calls from FAMS,     22·   ·anyway.· But to answer your question, that was not --
23·   ·you said there was one ring and then it would go to         23·   ·One ring is not enough time to answer.· I mean, my phone
24·   ·voicemail?                                                  24·   ·is over here and it rings once, if I go like that, I



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·1·   ·might not answer it by one ring (demonstrating).            ·1·   · · · Q.· ·Have you seen anything obtained from Sprint in
·2·   · · · Q.· ·Okay.                                             ·2·   ·this lawsuit?
·3·   · · · A.· ·Just giving you a ...                             ·3·   · · · A.· ·Have I physically seen it?
·4·   · · · Q.· ·No.· That's helpful.· And just to confirm what    ·4·   · · · Q.· ·Yes.
·5·   ·we've talked about prior, did you testify that you          ·5·   · · · A.· ·Not yet, no.
·6·   ·haven't paid anything to your attorneys for this lawsuit    ·6·   · · · Q.· ·Okay.
·7·   ·so far?                                                     ·7·   · · · A.· ·I've seen it on my end on Sprint.
·8·   · · · A.· ·That I have not?· Not --                          ·8·   · · · Q.· ·Doing your own -- looking it up Online?
·9·   · · · Q.· ·Yes.                                              ·9·   · · · A.· ·Yes.· Yeah.· But yeah.
10·   · · · A.· ·Not currently.                                    10·   · · · MS. STRICKLER:· Jon, do you want to take
11·   · · · Q.· ·Okay.· And you don't know how they are going      11·   ·another -- a quick break?
12·   ·to get paid; is that accurate?                              12·   · · · MR. AUST:· (No response.)
13·   · · · MR. VLAHAKIS:· Object to the form of the question.     13·   · · · MR. VLAHAKIS:· He might have us on mute.
14·   ·BY MS. STRICKLER:                                           14·   · · · MR. AUST:· Ah, yes.· I'd like two minutes or so if
15·   · · · Q.· ·Do you know how your attorneys will be paid in    15·   ·we can.
16·   ·this lawsuit?                                               16·   · · · MS. STRICKLER:· Okay.· I'll be back.
17·   · · · A.· ·No.                                               17·   · · · · · · · · · · ·(A short break was had.)
18·   · · · Q.· ·Okay.· Earlier you said -- I think I was -- It    18·   ·BY MS. STRICKLER:
19·   ·was when I was asking you what skip tracing was.· You       19·   · · · Q.· ·Okay.· Not to belabor on your phone, but if we
20·   ·said that somebody told you that they received your         20·   ·could talk about the calls, the rings that you receive
21·   ·number from a list.· Do you remember that testimony?        21·   ·when you get incoming calls.
22·   · · · A.· ·Yeah.                                             22·   · · · A.· ·Uh-huh.
23·   · · · Q.· ·Okay.· Who was it -- Where did you get that       23·   · · · Q.· ·If someone were to call you right now, would
24·   ·information?                                                24·   ·your phone ring more than once?
                                                         Page 83                                                            Page 85
·1·   · · · A.· ·I called them -- Or when I talked to them,        ·1·   · · · A.· ·What?· A regular phone call?
·2·   ·they said that.                                             ·2·   · · · Q.· ·Yeah.
·3·   · · · Q.· ·Okay.· So it was a FAMS representative that       ·3·   · · · A.· ·Yes.
·4·   ·said that?                                                  ·4·   · · · Q.· ·Okay.· But that's different from the calls you
·5·   · · · A.· ·Yes.· They literally said -- They literally       ·5·   ·received from FAMS --
·6·   ·openly admitted to me, oh, yeah.· I got your name off       ·6·   · · · A.· ·Yes.
·7·   ·the list.· I'm like what do you mean a list?· And they      ·7·   · · · Q.· ·-- is that right?· Okay.
·8·   ·didn't want to go into that.· I'm like, well, you just      ·8·   · · · MR. VLAHAKIS:· Which calls are you referring to,
·9·   ·kind of brought up a list to me.· I'm like I think you      ·9·   ·though?
10·   ·might want to elaborate on that and they refused to.        10·   ·BY MS. STRICKLER:
11·   ·so that's their word.· That's FAMS' words saying they       11·   · · · Q.· ·The calls that you received from FAMS where
12·   ·got from a list.                                            12·   ·they left a voicemail, you only received one ring?
13·   · · · Q.· ·Okay.· And that was the same call that you        13·   · · · A.· ·Yes.
14·   ·said don't call me anymore?                                 14·   · · · Q.· ·That's different than if -- let's say if I
15·   · · · A.· ·Yes.· Yes.· Yes.                                  15·   ·called your cell phone right now --
16·   · · · Q.· ·Do you remember who you spoke to?                 16·   · · · A.· ·Right.
17·   · · · A.· ·Oh, God, no.                                      17·   · · · Q.· ·-- it would ring more than once?
18·   · · · Q.· ·Okay.                                             18·   · · · A.· ·Right.· Like, when they called me several
19·   · · · A.· ·I wish.· I wish I remembered the name.            19·   ·times, it was a regular ring, but if it's one ring and
20·   · · · Q.· ·In this case, I'll represent to you that your     20·   ·then voicemail, that's what I'm saying.
21·   ·attorney sent a subpoena to Sprint for your records.· Do    21·   · · · Q.· ·Okay.· Okay.
22·   ·you know what records were obtained from Sprint?            22·   · · · A.· ·It's literally one ring.· But, yes, to answer
23·   · · · A.· ·I believe the voicemails, phone calls, and if     23·   ·your question, if someone called me right now, typically
24·   ·the phone rang or not during the voicemails.                24·   ·it's four, five rings, more than enough time for me to



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·1·   ·answer the phone unless I'm at work, but still.             ·1·   · · · A.· ·Random.
·2·   · · · Q.· ·Okay.· And then earlier I mentioned that there    ·2·   · · · Q.· ·And can you recall approximately how many
·3·   ·were documents produced by Sprint in this lawsuit.· Do      ·3·   ·different phone numbers that FAMS may have called you
·4·   ·you have any personal knowledge about the documents that    ·4·   ·from where the calls resulted in the, you know,
·5·   ·were produced?                                              ·5·   ·traditional call with the four, five rings?
·6·   · · · A.· ·"Personal" meaning what?                          ·6·   · · · A.· ·At least three.
·7·   · · · Q.· ·Have you seen them?                               ·7·   · · · Q.· ·Okay.· And could you describe the
·8·   · · · A.· ·Have I seen the documents from Sprint?            ·8·   ·difference -- or the process you would have to go
·9·   · · · Q.· ·Correct.                                          ·9·   ·through to -- when you heard the voice drops that -- Let
10·   · · · A.· ·Not -- Not yet, no.                               10·   ·me back up for a second.
11·   · · · Q.· ·Okay.· I just wanted to confirm.                  11·   · · · · · ·Do you have an understanding as to whether
12·   · · · A.· ·Yeah.                                             12·   ·FAMS did the voice drop or was there another entity that
13·   · · · MS. STRICKLER:· That's all I have.                     13·   ·caused the voice drops to be done?
14·   · · · · · · · · · CROSS-EXAMINATION                          14·   · · · A.· ·It's another entity.
15·   ·BY MR. VLAHAKIS:                                            15·   · · · Q.· ·And do you recall the name of that entity?
16·   · · · Q.· ·Okay.· So to clarify, if I understand your        16·   · · · A.· ·I think it's Votex?· Vortex?
17·   ·testimony correctly, you had mentioned there were times     17·   · · · Q.· ·VoApps?
18·   ·where you would get phone calls from FAMS up to three       18·   · · · A.· ·VoApps.· I'm sorry.
19·   ·times a day?                                                19·   · · · Q.· ·Okay.· And do you have a general understanding
20·   · · · A.· ·Yes.                                              20·   ·of how VoApps contends that it performs these voice
21·   · · · Q.· ·Okay.· In terms of those phone calls, I think     21·   ·drops?
22·   ·are you -- were you making a distinction between phone      22·   · · · A.· ·I believe they do a -- They do one call -- one
23·   ·calls from FAMS as opposed to voice drops from FAMS?        23·   ·ring and then it goes straight to voicemail.
24·   · · · A.· ·Yes.                                              24·   · · · Q.· ·And do you recall if there was a telephone
                                                         Page 87                                                            Page 89
·1·   · · · Q.· ·Okay.· So, for example, on a typical day, you     ·1·   ·number that was being associated with any of these voice
·2·   ·might have received -- and I think the phone records        ·2·   ·drops?
·3·   ·show this -- that you may have received three phone         ·3·   · · · A.· ·Yes.· Mine.
·4·   ·calls from FAMS.· Are you saying in addition to that,       ·4·   · · · Q.· ·Oh, I'm sorry.· No.· Was there a caller ID
·5·   ·you may have also received a voice drop from FAMS on a      ·5·   ·that was included in any of the voice drops --
·6·   ·day where the three phone calls would ring like a normal    ·6·   · · · A.· ·Oh.
·7·   ·call, but you received -- you also recall receiving a       ·7·   · · · Q.· ·-- when you looked into your voicemail to see
·8·   ·voice drop with the notifications you've testified to?      ·8·   ·who had called you?
·9·   · · · A.· ·Yes.                                              ·9·   · · · A.· ·It would be an 866 phone number.
10·   · · · Q.· ·Okay.· I know we don't have the records here      10·   · · · Q.· ·And you testified earlier to your general
11·   ·in front of you, but was there any day that you can         11·   ·understanding of what it meant to be a class
12·   ·recall where you received more than three phone calls       12·   ·representative.· Is there -- Can you give me any other
13·   ·from FAMS where there's a traditional ring that may have    13·   ·examples of what your understanding is of what the role
14·   ·been four or five rings?                                    14·   ·you're serving for in this case is?
15·   · · · A.· ·I can't remember an exact date, but it's          15·   · · · A.· ·I'm pretty much representing and they can have
16·   ·been -- it's well over one day that it's been three.        16·   ·permission to call me.· If they called me several times
17·   · · · Q.· ·Okay.· Were there other days you recall where     17·   ·a day, they probably called other people several times a
18·   ·you may have received two phone calls from FAMS when the    18·   ·day.· So I'm really representing how that affected
19·   ·phone rang in a traditional four or five rings?             19·   ·people.
20·   · · · A.· ·Yes.                                              20·   · · · Q.· ·And is your understanding that under the
21·   · · · Q.· ·Were the phone calls that you received from       21·   ·Telephone Consumer Protection Act that if an entity is
22·   ·FAMS where they were traditional phone rings, did those     22·   ·using pre-recorded voice messages, that they require the
23·   ·phone calls come at any set time on any given day or do     23·   ·permission of the recipient of that message before
24·   ·you recall them it was happening at random times?           24·   ·sending those messages?



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·1·   · · · A.· ·Yes.                                              ·1·   ·the list?
·2·   · · · Q.· ·And is your contention that you're serving as     ·2·   · · · A.· ·Yes.
·3·   ·a class representative because you do not believe FAMS      ·3·   · · · Q.· ·Okay.· So you're not suggesting --
·4·   ·had your permission to place voice messages in your         ·4·   · · · A.· ·That was a live person that I spoke to that
·5·   ·phone?                                                      ·5·   ·even though I had to go through that automated to talk
·6·   · · · A.· ·Yes.                                              ·6·   ·to someone live, they literally said, oh, yeah.· I got
·7·   · · · Q.· ·And are you serving as a class representative     ·7·   ·your number from the list like very casually.
·8·   ·because you believe that FAMS did not have permission to    ·8·   · · · Q.· ·And is this conversation you're referring to
·9·   ·call your telephone in an effort to contact your wife?      ·9·   ·separate from the one where you had then called in and
10·   · · · A.· ·Yes.                                              10·   ·said to stop calling?
11·   · · · Q.· ·And in terms of -- You were asked earlier if      11·   · · · A.· ·No.· It's the same one.
12·   ·you understood what an automatic telephone dialer was.      12·   · · · Q.· ·Okay.· And how many times did you speak to
13·   ·Do you remember those questions?                            13·   ·FAMS then?
14·   · · · A.· ·Yes.                                              14·   · · · A.· ·I believe just that one time.· I attempted
15·   · · · Q.· ·Okay.· When you answered the phone call that      15·   ·trying -- calling two other times, but it was just the
16·   ·you mentioned to earlier in your testimony, did the         16·   ·auto where it says press 1 or 2 and I was at work.· So
17·   ·person -- did anybody immediately pick up that phone or     17·   ·I'm not going to go through all that at work. I
18·   ·was there any -- a time lag?                                18·   ·mean ...
19·   · · · A.· ·As far as when I called them?                     19·   · · · Q.· ·And you were asked if you had an understanding
20·   · · · Q.· ·Yes.                                              20·   ·of compensation in this case and I want to ask you a
21·   · · · A.· ·You have to go through -- You have to go          21·   ·quick question if you understand.· In your capacity as a
22·   ·through -- press 1 or 2 to talk to someone.                 22·   ·class representative, do you understand what role the
23·   · · · Q.· ·Okay.· So nobody automatically answered the       23·   ·court may have in determining the type of compensation
24·   ·phone when you called in to FAMS?                           24·   ·that might be provided to you?
                                                         Page 91                                                            Page 93
·1·   · · · A.· ·Right.                                            ·1·   · · · A.· ·Yes.
·2·   · · · Q.· ·Okay.                                             ·2·   · · · Q.· ·What's your understanding of that?
·3·   · · · A.· ·Right.· You have to go to that -- through that    ·3·   · · · A.· ·That's based off of the judge's decision.
·4·   ·waiting thing where it's press 1 for this department or     ·4·   · · · Q.· ·And do you have an understanding as to how my
·5·   ·2.· I don't know the exact -- what it said, but yeah.       ·5·   ·firm might be compensated if we were to both prevail in
·6·   · · · Q.· ·And you called FAMS at a number that -- Did       ·6·   ·the class action?
·7·   ·you call it as a result of getting a voice drop or          ·7·   · · · A.· ·That's also up to the judge.
·8·   ·because you saw that your caller ID had a number            ·8·   · · · Q.· ·And do you know why it's up to the judge?
·9·   ·associated with FAMS?                                       ·9·   · · · A.· ·Because that's -- Because it's a class action
10·   · · · A.· ·Caller ID.· And, you know, also when they did     10·   ·lawsuit.· It's not like it's an individual where numbers
11·   ·call and I picked up the phone, I still went through        11·   ·can be a little bit more determined by that particular
12·   ·that prompt to say speak to this 1, 2.· So when I picked    12·   ·law firm.
13·   ·up that phone from FAMS, it's not like someone said         13·   · · · Q.· ·Okay.· And prior to attending the settlement
14·   ·hello right away.· It's that prompt.                        14·   ·conference, you recall receiving a copy of a
15·   · · · Q.· ·And what you mean by the prompt, there was        15·   ·counteroffer that was provided to you by FAMS' lawyers?
16·   ·a -- was there a pause or --                                16·   · · · A.· ·Yes.
17·   · · · A.· ·There's a pause, yeah.                            17·   · · · Q.· ·Okay.· And prior to attending the settlement
18·   · · · Q.· ·Okay.· And so is your recollection that you       18·   ·conference without going into the specific dollar
19·   ·did answer a phone call that had been placed by FAMS?       19·   ·figures that were mentioned, do you recall being told
20·   · · · A.· ·Yes.                                              20·   ·that FAMS was offering a certain amount of money to
21·   · · · Q.· ·Do you recall when that took place?               21·   ·compensate you for this case on an individual basis?
22·   · · · A.· ·I don't remember the exact date.                  22·   · · · A.· ·Yes.
23·   · · · Q.· ·And is that what you're referring to in terms     23·   · · · Q.· ·Okay.· And your desire, though, is to take
24·   ·of somebody identifying that they got your number from      24·   ·this case to the certification stage in order to obtain



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·1·   ·compensation for class numbers, correct?                    ·1·   ·gather evidence in this case, you were able to provide
·2·   · · · A.· ·Yes.                                              ·2·   ·PDF copies of your Sprint bills, correct?
·3·   · · · Q.· ·Okay.· And what's your basis for believing        ·3·   · · · A.· ·Yes.
·4·   ·that other individuals may have -- be in similar            ·4·   · · · Q.· ·Okay.· And do you have an understanding as to
·5·   ·circumstances to you in terms of FAMS not having their      ·5·   ·whether the bills that you received from Sprint would
·6·   ·permission to contact them with an Automated Telephone      ·6·   ·show all the calls that you may have received from FAMS?
·7·   ·Dialing System?                                             ·7·   · · · A.· ·It depends on how you search it, but yeah.
·8·   · · · A.· ·Just based off of the stories that I've read      ·8·   · · · MR. VLAHAKIS:· I've got nothing further.
·9·   ·Online, people's posts.· There would be an enormous         ·9·   · · · MS. STRICKLER:· I have a few follow-up questions.
10·   ·amount of people stating on their end similar               10·   · · · · · · · · · REDIRECT EXAMINATION
11·   ·experiences.· And, again, this is not me asking them.       11·   ·BY MS. STRICKLER:
12·   ·This is just public knowledge.· So based off of those       12·   · · · Q.· ·Did you testify that FAMS called you from
13·   ·numbers, I'll give you an example.· At least out of a       13·   ·approximately three different numbers?
14·   ·thousand people, I've seen maybe at least 400 people out    14·   · · · A.· ·Well, it's my cell phone, my mother's phone,
15·   ·a thousand people, that type of ratio, so ...· Just         15·   ·and it was -- No.· No.· It was two.· I'm sorry.· I was
16·   ·based off of that unless they're all lying.                 16·   ·thinking of my wife's phone it was three.· They were
17·   · · · Q.· ·And when did you --                               17·   ·just calling her, though.
18·   · · · A.· ·I'm just going by what they say.                  18·   · · · Q.· ·Was it --
19·   · · · Q.· ·When did you conduct that research?               19·   · · · A.· ·So it's two.
20·   · · · A.· ·A few months ago, actually.                       20·   · · · Q.· ·I'm sorry.· Go ahead.
21·   · · · Q.· ·Okay.                                             21·   · · · A.· ·It's two.· It's my cell phone and my mother's.
22·   · · · A.· ·Yeah.· Yeah.· I believe it's -- To be exact, I    22·   · · · Q.· ·Okay.· Was it always the same number from
23·   ·believe it was about -- about, yeah, three months ago       23·   ·FAMS?· So when you get the incoming call, was it always
24·   ·from last week.· So a little over three months ago.         24·   ·the same number that FAMS was calling from?
                                                         Page 95                                                            Page 97
·1·   · · · Q.· ·And in terms of the time frame of when you        ·1·   · · · A.· ·No.· They switch numbers.
·2·   ·were called by FAMS at work, is the best evidence of        ·2·   · · · Q.· ·Okay.· Do you know how many numbers --
·3·   ·that whatever the phone records may show as of the times    ·3·   · · · A.· ·Two or three they have.
·4·   ·and the dates?                                              ·4·   · · · Q.· ·Okay.· Do you recall what those numbers were?
·5·   · · · A.· ·Yeah.                                             ·5·   · · · A.· ·I'd have to look it up, but if I wanted to be
·6·   · · · Q.· ·And in terms of the recent phone calls to your    ·6·   ·really accurate, I can just check my mother's phone
·7·   ·mother, can you pinpoint when you believe the most          ·7·   ·records or get her phone bills because they would call
·8·   ·recent call from FAMS was to your mother in relation to     ·8·   ·her after me.
·9·   ·your wife's debt?                                           ·9·   · · · Q.· ·Okay.· But to your phone --
10·   · · · A.· ·A few months ago.                                 10·   · · · A.· ·Yeah.· Yeah.
11·   · · · MR. VLAHAKIS:· Okay.· And, Jonathan, that's the        11·   · · · Q.· ·-- it was different numbers?
12·   ·first time I've heard about that so I don't know if         12·   · · · A.· ·They would literally call her right after
13·   ·there's a new placement or if the records -- there's        13·   ·me --
14·   ·some other debt that FAMS might be trying to collect        14·   · · · Q.· ·Okay.
15·   ·with Nicolette or something so we may want to look into     15·   · · · A.· ·-- a few times.· Yeah.· So they would call my
16·   ·that, but I'm just alerting you to this.· This is the       16·   ·phone, not get ahold of me and go right to there.
17·   ·first time I've heard about a more recent call and I        17·   · · · Q.· ·When was this?
18·   ·think that the -- at least the '17 placement ended          18·   · · · A.· ·A few months ago.
19·   ·sometime in '18, the calls, so ...· You don't need to       19·   · · · Q.· ·So you were still receiving calls a few months
20·   ·answer now, Jonathan.· We can just talk about it off the    20·   ·ago?
21·   ·record later.                                               21·   · · · A.· ·No.· I mean, like six or eight.
22·   · · · MR. AUST:· Okay.                                       22·   · · · Q.· ·Okay.
23·   ·BY MR. VLAHAKIS:                                            23·   · · · A.· ·Like, not few.· Like three or four, but ... I
24·   · · · Q.· ·And in terms of what you've done to help          24·   ·don't remember the exact date.



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·1·   · · · Q.· ·So was it in 2019?                                ·1·   · · · A.· ·As opposed to me personally did they offer me
·2·   · · · A.· ·No.· It was in 2018.                              ·2·   ·any money --
·3·   · · · Q.· ·Okay.· 2018?                                      ·3·   · · · Q.· ·Okay.
·4·   · · · A.· ·Yeah.· We're in, what, April?                     ·4·   · · · A.· ·-- or any settlement.· I understood --
·5·   · · · Q.· ·May.                                              ·5·   ·misunderstood that question.
·6·   · · · A.· ·May.                                              ·6·   · · · Q.· ·Okay.
·7·   · · · MR. VLAHAKIS:· Time flies.                             ·7·   · · · A.· ·That's what I'm saying.
·8·   · · · THE WITNESS:· Yeah.                                    ·8·   · · · Q.· ·Okay.· So it's your testimony that you did
·9·   ·BY MS. STRICKLER:                                           ·9·   ·receive more than one settlement offer --
10·   · · · Q.· ·So you were still receiving calls in 2018?        10·   · · · A.· ·Yes.
11·   · · · A.· ·Uh-huh.                                           11·   · · · Q.· ·-- to you?
12·   · · · Q.· ·And your mother was receiving them at the same    12·   · · · A.· ·(Nodding.)
13·   ·time, correct?                                              13·   · · · Q.· ·Okay.· Earlier you said something about you
14·   · · · A.· ·Well -- Yeah, at the same time that I was, but    14·   ·looked into other people affected by FAMS.· You said
15·   ·then she had them after me, too, after -- even after        15·   ·something about 400 out of a thousand.· Where are you
16·   ·twice of her speaking to a representative saying don't      16·   ·getting the information from?
17·   ·call me.· For some reason, they felt the need to still      17·   · · · A.· ·Some of it's on Reddit, some of it's on
18·   ·call her.                                                   18·   ·Facebook, but ...· A few different sources.
19·   · · · Q.· ·How many times did you pick up a call from        19·   · · · Q.· ·Were there groups that you found, or ...
20·   ·FAMS?                                                       20·   · · · A.· ·There was one group, yeah.
21·   · · · A.· ·I picked up once.                                 21·   · · · Q.· ·What was that group?
22·   · · · Q.· ·Okay.· And it's your testimony that the only      22·   · · · A.· ·I can't remember the name of it to be honest
23·   ·time you talked to FAMS was when they called you?           23·   ·with you.
24·   · · · A.· ·Yes.                                              24·   · · · Q.· ·Was that on Reddit?
                                                         Page 99                                                            Page 101
·1·   · · · Q.· ·Okay.· And to clarify, you said that when they    ·1·   · · · A.· ·Yes.
·2·   ·called you and you answered, you got the --                 ·2·   · · · Q.· ·And did you go through and count the people --
·3·   · · · A.· ·It was not a live person right away.· It's        ·3·   · · · A.· ·Yeah.
·4·   ·auto.· Like, it's a prompt saying --                        ·4·   · · · Q.· ·-- to get the number 400?
·5·   · · · Q.· ·You had to select something?                      ·5·   · · · A.· ·Yeah.
·6·   · · · A.· ·Yeah.· Select 1 or 2 for this.                    ·6·   · · · Q.· ·Or is that an approximation?
·7·   · · · Q.· ·You testified that you do recall that there       ·7·   · · · A.· ·No.· It's approximate, but, yeah, I kind of
·8·   ·were other settlement offers prior to the conference; is    ·8·   ·just out of curiosity I counted.
·9·   ·that correct?                                               ·9·   · · · Q.· ·Okay.
10·   · · · A.· ·Uh-huh.                                           10·   · · · A.· ·I just felt that was a ridiculous amount of
11·   · · · Q.· ·But before, your testimony was you were           11·   ·people saying the same thing, so ...
12·   ·unaware of any other settlement offers; is that correct?    12·   · · · Q.· ·Did you make a list of these people?
13·   · · · A.· ·I didn't understand the question correctly.       13·   · · · A.· ·Not currently, no, or not unless my attorney
14·   ·That's why.                                                 14·   ·wanted that information and I -- You know, I would -- I
15·   · · · Q.· ·Okay.                                             15·   ·can't just -- I'm not going to respond on Reddit and
16·   · · · A.· ·I thought it meant if you knew of any other       16·   ·say, Hey, you want to be a part of a lawsuit or
17·   ·settlement offers other than yourself.                      17·   ·something?· I was just reading that.· I was doing
18·   · · · Q.· ·What do you mean by that?                         18·   ·research.· I didn't respond to them.· That was not my
19·   · · · A.· ·Like, public record or anything like that.        19·   ·intention to respond.· I wanted to see exactly how many
20·   ·That's literally what I thought the question meant when     20·   ·there were.
21·   ·you said any settlement offers.                             21·   · · · Q.· ·Okay.· Was there a time that you did write
22·   · · · Q.· ·That they were public record?                     22·   ·down a list of the people that you were researching?
23·   · · · A.· ·Yes.                                              23·   · · · A.· ·No.
24·   · · · Q.· ·Okay.· As opposed to ...                          24·   · · · Q.· ·Okay.



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                                                         Page 102                                                            Page 104
·1·   · · · A.· ·Don't have to.· You could just research it         ·1·   · · · A.· ·I don't remember the exact date.
·2·   ·again.· I mean, unless their case ended, I mean ...          ·2·   · · · Q.· ·And there was obviously a bit of an
·3·   · · · Q.· ·What is the 400 out of a thousand people?          ·3·   ·off-the-record discussion that we just had, but based on
·4·   ·What do you mean by that?                                    ·4·   ·what you can -- you heard from that, does -- are you --
·5·   · · · A.· ·It's just an example.· Like, out of a thousand     ·5·   ·what confidence level do you have that it was -- you
·6·   ·people survey, 400, like that type of a ratio.               ·6·   ·told them to stop calling you in relation to the call
·7·   · · · Q.· ·Okay.· And that's just something you're            ·7·   ·you placed or a call that was placed in to you?
·8·   ·guesstimating?                                               ·8·   · · · A.· ·Meaning that if they called me or if I called
·9·   · · · A.· ·Yeah.· Just -- I'm just trying to give an          ·9·   ·them?
10·   ·example.                                                     10·   · · · Q.· ·Yes.
11·   · · · Q.· ·Okay.                                              11·   · · · A.· ·They called me.
12·   · · · A.· ·It's not an exact like a thousand people were      12·   · · · Q.· ·Okay.
13·   ·interviewed.· This is an example.                            13·   · · · A.· ·I mean ...
14·   · · · MS. STRICKLER:· I think that's all I have.              14·   · · · Q.· ·And it's your testimony and your recollection
15·   · · · MR. VLAHAKIS:· Jonathan, anything?                      15·   ·that you picked up the inbound -- the call that was
16·   · · · MR. AUST:· No.· I'm good.                               16·   ·being placed to you and you were then -- you then spoke
17·   · · · MR. VLAHAKIS:· Quick clarification then.                17·   ·with somebody from FAMS and you then told them to stop
18·   · · · · · · · · · RECR0SS-EXAMINATION                         18·   ·calling you, correct?
19·   ·BY MR. VLAHAKIS:                                             19·   · · · A.· ·Yes.
20·   · · · Q.· ·So when you spoke with the representative from     20·   · · · Q.· ·Okay.· And if FAMS has records showing an
21·   ·FAMS, was that when you placed an inbound call to FAMS       21·   ·inbound call from you resulting in that phone
22·   ·or when you had answered a call from FAMS?                   22·   ·conversation, does that make you think that there's
23·   · · · A.· ·No.· I was answering.                              23·   ·another time you may have spoken with FAMS to tell them
24·   · · · Q.· ·Okay.· Got it.· And do you recall what -- Was      24·   ·to stop calling you in relation to a call that FAMS
                                                         Page 103                                                            Page 105
·1·   ·there a pre-recorded message saying to hold for an           ·1·   ·placed to you as opposed to an inbound call you placed?
·2·   ·operator or did it -- was the pre-recorded message           ·2·   · · · A.· ·I mean, it's possible.
·3·   ·prompting you to hit a certain number?                       ·3·   · · · Q.· ·And can you estimate how many -- I mean, the
·4·   · · · A.· ·It's saying hit a certain number.                  ·4·   ·Live Box records that we have received show over a
·5·   · · · Q.· ·Okay.                                              ·5·   ·hundred phone calls to your number ending in 8132, some
·6·   · · · A.· ·I don't remember the exact wording word for        ·6·   ·which were two a day, sometimes three a day.· Does that
·7·   ·word, but I know it was you had to hit a certain number.     ·7·   ·total number of calls seem to jibe up with what your
·8·   · · · MR. VLAHAKIS:· Okay.· Jonathan, that's the first        ·8·   ·recollection is of the amount of calls that Live Box --
·9·   ·that I'm hearing about a pre-recorded message being          ·9·   ·or not Live Box -- FAMS made in a sort of a traditional
10·   ·played as sort of a hold thing.· Do you know if that's       10·   ·telephone ring call?
11·   ·what was being done at that era for FAMS or not?             11·   · · · A.· ·Yes.
12·   · · · MR. AUST:· I do not believe that that's the case,       12·   · · · Q.· ·Okay.
13·   ·but I -- That's the first I've heard of it.· I don't         13·   · · · A.· ·Minimum, or ...
14·   ·think that's what's going on.                                14·   · · · Q.· ·In your mind, was it excessive and harassing
15·   · · · MR. VLAHAKIS:· Got it.                                  15·   ·to you to be called up to three times a day by FAMS?
16·   · · · MR. AUST:· There's only one -- Are we on the            16·   · · · A.· ·Yes, especially at work and driving.
17·   ·record?                                                      17·   · · · MR. VLAHAKIS:· I've got nothing further.
18·   · · · MR. VLAHAKIS:· Oh, we can go off.                       18·   · · · · · · · · · REDIRECT EXAMINATION
19·   · · · MR. AUST:· All right.                                   19·   ·BY MS. STRICKLER:
20·   · · · · · · · · · · ·(Discussion off the record.)             20·   · · · Q.· ·Just to clarify what you just said now.· So is
21·   ·BY MR. VLAHAKIS:                                             21·   ·it your testimony that you received over a hundred of
22·   · · · Q.· ·Mr. Molinari, just to make sure we've got this     22·   ·the traditional calls from FAMS?
23·   ·buttoned down, do you recall when you told FAMS to stop      23·   · · · A.· ·Yes.
24·   ·calling your telephone number?                               24·   · · · Q.· ·That does not include the one call voicemail,



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·1·   ·correct?                                                         ·1· ·UNITED STATES OF AMERICA· · · · )
                                                                        · · ·NORTHERN DISTRICT OF ILLINOIS· ·)
·2·   · · · A.· ·No, that does not include this.· I've got I
                                                                        ·2· ·EASTERN DIVISION· · · · · · · · )· ·SS.
·3·   ·think ten voicemails.
                                                                        · · ·STATE OF ILLINOIS· · · · · · · ·)
·4·   · · · MS. STRICKLER:· Okay.· That's all.
                                                                        ·3· ·COUNTY OF COOK· · · · · · · · · )
·5·   ·BY THE WITNESS:                                                  ·4
·6·   · · · A.· ·But no, that doesn't include that.· Yeah.              ·5· · · · · · ·I, Christina J. Atto, Certified Shorthand
·7·   · · · Q.· ·Okay.                                                  ·6· ·Reporter and Notary Public, do hereby certify that
·8·   · · · A.· ·And I said a minimum a hundred.· I'm just              ·7· ·RICHARD MOLINARI was first duly sworn by me to testify
·9·   ·guesstimating.· I mean, it's got to be a minimum, but            ·8· ·to the whole truth and that the above deposition was
10·   ·I'm not counting right now.                                      ·9· ·reported stenographically by me and reduced to
11·   · · · MR. VLAHAKIS:· I've got nothing further.                    10· ·typewriting under my personal direction.

12·   · · · · · ·Jonathan, you good?                                    11· · · · · · ·I further certify that the said deposition was

13·   · · · MR. AUST:· I'm good.                                        12· ·taken at the time and place specified and that the
                                                                        13· ·taking of said deposition commenced on the 10th day of
14·   · · · MR. VLAHAKIS:· Okay.
                                                                        14· ·May, A.D., 2019, at 10:00 a.m.
15·   · · · THE COURT REPORTER:· Signature?
                                                                        15· · · · · · ·I further certify that I am not a relative or
16·   · · · MR. VLAHAKIS:· We will reserve.
                                                                        16· ·employee or attorney or counsel of any of the parties,
17·   · · · THE COURT REPORTER:· Okay.
                                                                        17· ·nor a relative or employee of such attorney or counsel,
18·   · · · · · · · · · · ·(Witness excused.)                           18· ·nor financially interested directly or indirectly in
19                                                                      19· ·this action.
20                                                                      20
21                                                                      21
22                                                                      22
23                                                                      23

24                                                                      24

                                                             Page 107                                                               Page 109
·1·   · · · · · · ·IN THE UNITED STATES DISTRICT COURT                  ·1· · · · · · ·In witness whereof, I have hereunto set my
· ·   · · · · · · · ·NORTHERN DISTRICT OF ILLINOIS                      ·2· ·hand and affixed my seal of office at Chicago, Illinois,
·2·   · · · · · · · · · · · ·EASTERN DIVISION
                                                                        ·3· ·this 21st day of May, A.D., 2019.
·3
· ·   ·RICHARD MOLINARI, Plaintiff, on· · )                             ·4
·4·   ·behalf of himself and a class· · · )                             ·5
· ·   ·of similarly situated· · · · · · · )
                                                                        ·6
·5·   ·individuals,· · · · · · · · · · · ·)
· ·   · · · · · · · · · · · · · · · · · · )                             ·7
·6·   · · · · · · · · · Plaintiffs,· · · ·)                             ·8
· ·   · · · · · · · · · · · · · · · · · · )                             ·9
·7·   · · · · · ·vs.· · · · · · · · · · · ) No. 1:18-cv-01526
                                                                        · · · · · · · · · · · · ·_______________________________
· ·   · · · · · · · · · · · · · · · · · · )
·8·   ·FINANCIAL ASSET MANAGEMENT· · · · ·)                             10· · · · · · · · · · · ·CHRISTINA J. ATTO, CSR, RPR
· ·   ·SYSTEMS, INC.,· · · · · · · · · · ·)                             · · · · · · · · · · · · ·180 North LaSalle Street
·9·   · · · · · · · · · · · · · · · · · · )                             11· · · · · · · · · · · ·Suite 2800
· ·   · · · · · · · · · Defendant.· · · · )
10                                                                      · · · · · · · · · · · · ·Chicago, Illinois 60601
11·   ·   · · · · · I, RICHARD MOLINARI, state that I have read         12· · · · · · · · · · · ·Phone:· (312) 236-6936
12·   ·   the foregoing transcript of the testimony given by me at      13
13·   ·   my deposition on the 10th day of May, A.D., 2019, and
                                                                        14
14·   ·   that said transcript constitutes a true and correct
15·   ·   record of the testimony given by me at the said               · · ·CSR No.· 084-004321
16·   ·   deposition except as I have so indicated on the errata        15
17·   ·   sheets provided herein.                                       16
18
19                                                                      17
· ·   · · · · · · · · · · · · · · · · · _______________________         18
20·   · · · · · · · · · · · · · · · · · · ·RICHARD MOLINARI             19
21
                                                                        20
· ·   · SUBSCRIBED AND SWORN to
22·   · before me this ________ day                                     21
· ·   · of __________________, 2019.                                    22
23                                                                      23
24·   · _________________________
· ·   · · · ·NOTARY PUBLIC                                              24




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                                                               Page 110
·1· ·Errata Sheet
·2
·3· ·NAME OF CASE: Molinari vs Financial Asset Management Systems, Inc.
·4· ·DATE OF DEPOSITION: 05/10/2019
·5· ·NAME OF WITNESS: Richard Molinari
·6
·7· ·Page _____ Line ______ Reason _________________________
·8· ·From _______________________ to _______________________
·9· ·Page _____ Line ______ Reason _________________________
10· ·From _______________________ to _______________________
11· ·Page _____ Line ______ Reason _________________________
12· ·From _______________________ to _______________________
13· ·Page _____ Line ______ Reason _________________________
14· ·From _______________________ to _______________________
15· ·Page _____ Line ______ Reason _________________________
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17· ·Page _____ Line ______ Reason _________________________
18· ·From _______________________ to _______________________
19· ·Page _____ Line ______ Reason _________________________
20· ·From _______________________ to _______________________
21· ·Page _____ Line ______ Reason _________________________
22· ·From _______________________ to _______________________
23
24· ·______________________
· · ·SIGNATURE OF DEPONENT




                                                                                                        YVer1f
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